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                                           3M COMPANY
                                         7
                                         8                          UNITED STATES DISTRICT COURT
                                         9          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                                        10
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                        11   3M COMPANY,                             Case No. 2:20-cv-10536-DDP(JEMx)
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                                        12                   Plaintiff,
           (213) 623-9300




                                                                                     COMPLAINT AND DEMAND
                                        13            vs.                            FOR JURY TRIAL
                                        14
                                        15                   Defendant.
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                                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                                         1           Plaintiff 3M Company (“3M” or “Plaintiff”), by and through its undersigned
                                         2   attorneys, hereby files this Complaint against                     (“Defendant”). 3M
                                         3   hereby alleges as follows based on knowledge of 3M’s own actions, and on
                                         4   information and belief as to all other matters:
                                         5                                NATURE OF THE ACTION
                                         6           1.      3M brings this lawsuit to combat the sale of counterfeit 3M personal
                                         7   protective equipment (“PPE”), and in particular, counterfeit 3M N95 respirator
                                         8   products, offered in this District by Defendant through the Internet based
                                         9   e-commerce store eBay.com, using the seller identity                     ”
                                        10           2.      Defendant is an online seller who seeks to exploit the current COVID-
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                                        11   19 pandemic by offering counterfeit 3M N95 respirator products at inflated prices.
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                                        12   Defendant is trading on the reputation and goodwill associated with the famous 3M
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                                        13   mark, without 3M’s authorization, and is misleading consumers into believing that
                                        14   Defendant is offering authorized, genuine 3M N95 respirator products that meet
                                        15   3M’s standards, when in fact Defendant is selling counterfeit imitations.
                                        16           3.      Defendant’s fraudulent sales of these counterfeit respirators jeopardize
                                        17   the health and safety of healthcare workers, first responders, and the public who
                                        18   believe they are purchasing genuine 3M N95 respirators that meet 3M’s quality-
                                        19   control standards. While 3M N95 respirators are subject to strict quality control
                                        20   standards, the products offered by Defendant are of unknown provenance: the public
                                        21   has no way of knowing who is making them, with what materials, and with what (if
                                        22   any) quality control and health safety measures. This unlawful activity poses
                                        23   potentially serious health consequences for the public, justifying immediate judicial
                                        24   intervention.
                                        25           4.      In addition, by using 3M’s name and famous trademarks, trading on
                                        26   3M’s reputation and goodwill, and deceiving customers into believing that they are
                                        27   buying genuine 3M N95 respirators, Defendant’s unlawful and unethical activities
                                        28   are causing 3M irreparable harm.
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                                         1           5.      3M therefore brings this action stop Defendant’s unlawful exploitation
                                         2   of the COVID-19 pandemic, to protect the public from Defendant’s fraudulent and
                                         3   counterfeit commercial activities, and to protect 3M’s name and reputation from the
                                         4   harm caused by Defendant’s unlawful actions.
                                         5           6.      The COVID-19 pandemic is ongoing, and 3M’s N95 respirator
                                         6   products remain in high-demand to help reduce the risk of transmission of the novel
                                         7   coronavirus. Immediate judicial intervention is needed to prevent Defendant from
                                         8   continuing to jeopardize the public health by misleading consumers into buying and
                                         9   using counterfeit N95 respirators while laboring under the false impression that they
                                        10   are genuine 3M products that meet the applicable 3M and N95 standards.
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                                        11           7.      3M respectfully requests the Court preliminarily and permanently
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                                        12   enjoin Defendant from using 3M’s name, logo, branding, all associated trademarks
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                                        13   and other intellectual property, and from selling counterfeit 3M-branded respirator
                                        14   products bearing 3M trademarks or any other 3M products. 3M further requests the
                                        15   Court order Defendant to disgorge any profits they have made from these fraudulent
                                        16   transactions, along with any other appropriate relief the Court might order. 3M has
                                        17   committed to donating any monetary recovery in this action to COVID-19 charitable
                                        18   organizations.
                                        19                                      BACKGROUND
                                        20           8.      Throughout its history, 3M has been a leader in innovation and
                                        21   developing healthcare and safety products for industry and consumers throughout
                                        22   the world. 3M’s PPE—and in particular 3M’s N95 respirator products—are
                                        23   considered the gold standard for public health protection.
                                        24           9.      Over the last hundred-plus years, 3M has invested hundreds of millions
                                        25   of dollars to advertise and promote its 3M-branded products, including, without
                                        26   limitation, its 3M-branded respirator products. During this time, 3M continuously
                                        27   used its 3M trademarks in commerce. Through this substantial investment and its
                                        28   extensive and continuous use of the famous 3M trademarks, 3M has established
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                                         1   goodwill and an acclaimed reputation among the general public and healthcare and
                                         2   safety professionals for its high quality, safe and reliable products. Consumers
                                         3   associate the 3M Marks (as defined below in Paragraph 32) uniquely with 3M, and
                                         4   now, more than ever, consumers rely on the famous 3M Marks to indicate that the
                                         5   products offered thereunder are of the same superior quality that consumers have
                                         6   come to expect over the past century. This is especially true with respect to 3M’s
                                         7   numerous industry-leading healthcare and PPE products, including Plaintiff’s 3M-
                                         8   branded N95 respirators.
                                         9           10.     Healthcare professionals and other first responders are heroically
                                        10   placing their health and safety on the line to battle COVID-19, and 3M’s N95
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                                        11   respirator products are critical to those individuals and groups on the front lines
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                                        12   combating COVID-19. First responders, healthcare professionals, and the public
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                                        13   have come to depend on the quality and dependability that the 3M brand signifies.
                                        14   In an effort to meet the heightened demand for 3M N95 respirators during the
                                        15   pandemic, 3M has increased its production of N95 respirator products to
                                        16   unprecedented levels. Since the COVID-19 pandemic began in January 2020, 3M
                                        17   has doubled its global production rate of N95 respirators to 1.1 billion per year, or
                                        18   100 million per month. 3M is continuing to invest in the capital and resources it
                                        19   needs to further increase its production capacity to two billion per year globally.
                                        20           11.     The demand for 3M-branded respirators has grown exponentially in
                                        21   response to the pandemic, and 3M has been committed to seeking to meet this
                                        22   demand while keeping its respirators priced fairly. 3M is working with customers,
                                        23   distributors, governments, and medical officials to direct 3M supplies to where they
                                        24   are needed most. Importantly, 3M has not increased its U.S. prices for disposable
                                        25   N95 respirators as a result of the pandemic.
                                        26           12.     Unfortunately, a number of wrongdoers are seeking to exploit the
                                        27   current public health emergency and prey on innocent parties through a variety of
                                        28   scams involving 3M N95 respirators and other 3M PPE products in high demand.
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                                         1   These scams include unlawful price-gouging, fake offers, counterfeiting, and other
                                         2   unfair and deceptive practices—all of which undercut the integrity of the
                                         3   marketplace and constitute an ongoing threat to public health and safety.
                                         4           13.      In response to fraudulent activity, price-gouging and counterfeiting
                                         5   related to N95 respirators that has spiked in the marketplace in response to the
                                         6   pandemic, 3M is taking an active role to combat these activities. 3M’s actions
                                         7   include working with law enforcement authorities around the world, including the
                                         8   Department of Justice, state Attorneys General, the Federal Bureau of Investigation,
                                         9   and local authorities to combat price-gouging and other unlawful activities. 3M has
                                        10   established a dedicated point of contact for federal and state procurement officials
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                                        11   to promptly validate third-party offers and quotes. In doing so, 3M has already
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                                        12   helped prevent dozens of potentially fraudulent transactions with federal agencies,
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                                        13   state governments, municipal governments, private enterprises and other
                                        14   organizations. 3M is in regular contact with numerous governors and state attorneys
                                        15   general regarding these efforts to prevent and combat fraud. The Department of
                                        16   Justice has publicly thanked 3M for the assistance it has provided in investigations
                                        17   that have led to arrests. See Press Release: New Jersey Man Arrested for $45 Million
                                        18   Scheme to Defraud and Price Gouge New York City During COVID-19 Pandemic,
                                        19   available       at   https://www.justice.gov/usao-sdny/pr/new-jersey-man-arrested-45-
                                        20   million-scheme-defraud-and-price-gouge-new-york-city-during (May 26, 2020).
                                        21           14.      3M has also created a COVID-19 Fraud Hotline, where the public can
                                        22   report to 3M suspected cases of fraud, price-gouging, and counterfeit activities in
                                        23   connection with 3M PPE. In addition, 3M is publishing information about its anti-
                                        24   price-gouging        and    counterfeiting   efforts   on   the   3M   website   (see
                                        25   https://www.3m.com/3M/en_US/worker-health-safety-us/covid19/covid-fraud/),
                                        26   including disclosure of 3M’s list prices for the most common models of its N95
                                        27   respirators so that customers can identify and avoid inflated prices, and the web
                                        28   address and phone numbers that can be used to identify 3M authorized distributors
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                                                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
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                                         1   and dealers in the United States and Canada. A true and correct copy of this
                                         2   publication is attached hereto as Exhibit 1.
                                         3           15.     3M does not—and will not—condone individuals or entities
                                         4   deceptively trading off the fame and goodwill of the 3M name and marks for
                                         5   criminal gain. This is particularly true against those who seek to exploit the surge in
                                         6   demand for 3M-branded products during the global COVID-19 pandemic.
                                         7           16.     3M has already filed over twenty lawsuits in connection with its fight
                                         8   against fraud, price gouging, and counterfeiting, and has sent dozens of cease and
                                         9   desist letters against numerous bad actors perpetrating fraud amidst the COVID-19
                                        10   pandemic. 3M has further assisted in investigations resulting in the seizure of
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                                        11   thousands of counterfeit respirators throughout the world. See “3M’s efforts on N95
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                                        12   crackdown leads to raids in Vietnam, U.A.E.” Minn. Star Tribune, October 5, 2020
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                                        13   (available at https://www.startribune.com/3m-s-efforts-on-counterfeit-n95-mask-
                                        14   crackdown-leads-to-raids-in-vietnam-u-a-e/572638472).
                                        15           17.     Defendant, like many sellers of counterfeit goods on interactive
                                        16   websites, rely on the supposed anonymity afforded by the Internet to escape
                                        17   detection and liability. Unfortunately, Defendant and similar counterfeiters
                                        18   circumvent the efforts of interactive websites to vet sellers and confirm their
                                        19   identities. They employ numerous strategies to hide their true identities and trade
                                        20   under multiple aliases and handles in an effort to keep ill-gotten gains beyond the
                                        21   reach of their victims.
                                        22           18.     To further protect the public from Defendant’s fraud and pandemic
                                        23   profiteering, to prevent the proliferation of imitation and counterfeit PPE, and to
                                        24   forestall any further diminution to 3M’s reputation, fame, and goodwill, 3M brings
                                        25   this lawsuit against Defendant for counterfeiting, trademark infringement, false
                                        26   designation of origin, and trademark dilution, based on Defendant’s misuse of
                                        27   Plaintiff’s trademarks to market and sell counterfeit 3M products.
                                        28           19.     3M seeks preliminary and permanent injunctive relief. Any damages,
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                                         1   costs, or fees recovered by 3M will be donated to charitable COVID-19 relief efforts.
                                         2                                       THE PARTIES
                                         3           20.     Plaintiff 3M Company is a Delaware corporation, with a principal place
                                         4   of business and corporate headquarters located at 3M Center, St. Paul, Minnesota
                                         5   55144. 3M is a diversified technology company with a global presence and is among
                                         6   the leading manufacturers of products for many of the markets it serves, including
                                         7   PPE such as 3M-branded N95 respirators.
                                         8           21.     On information and belief, Defendant                    is an entity of
                                         9   unknown provenance which has a place of business located at 6433 Topanga Canyon
                                        10   Blvd. #201, Canoga Park, California 91303.
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                                        11           22.     The true name and identity of Defendant is presently unknown.
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                                        12   Defendant uses a seller identity                       to conceal its identity, which
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                                        13   hampers the ability to identify Defendant’s identity and location. If Defendant
                                        14   provides additional credible information regarding its identity, 3M will take
                                        15   appropriate steps to amend this Complaint.
                                        16                                JURISDICTION & VENUE
                                        17           23.     This Court has original subject matter jurisdiction over the claims in
                                        18   this action pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq.,
                                        19   28 U.S.C. § 1338(a)-(b), 28 U.S.C. § 1331, and 28 U.S.C. §1121.
                                        20           24.     The claims for trademark infringement, counterfeiting, unfair
                                        21   competition, false designation of origin, and trademark dilution, asserted in
                                        22   Counts I – III, infra, arise under the Trademark Act of 1946 (as amended; the
                                        23   “Lanham Act”), namely, 15 U.S.C. §§ 1051 et seq. Accordingly, this Court has
                                        24   original and subject-matter jurisdiction over Counts I – III pursuant to 28 U.S.C.
                                        25   §§ 1331, 1338(a), and 15 U.S.C. § 1121(a).
                                        26           25.     The additional claims arising under California law, and are so related
                                        27   to the federal claims asserted in Counts I – III, infra, that they form part of the same
                                        28   case or controversy. Accordingly, this Court has supplemental jurisdiction over
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                                         1   Counts IV – V pursuant to 28 U.S.C. §§ 1338(b) and 1367(a).
                                         2           26.     Defendant seeks to do business with residents in this District through
                                         3   the use of an interactive commercial website—namely, eBay—offering infringing
                                         4   3M PPE. Defendant places no restriction on the marketing and sale of counterfeit
                                         5   3M products to residents of California and this District. On information and belief,
                                         6   Defendant has sold products bearing infringing and counterfeit versions of 3M’s
                                         7   federally registered trademarks to residents of California and this District.
                                         8           27.     Defendants have also purposefully availed themselves of the privilege
                                         9   of transacting business within the State of California, including in this District, by
                                        10   operating a place of business in Canoga Park, California. Additionally, Defendant is
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                                        11   subject to personal jurisdiction in California because Defendant’s eBay listings show
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                                        12   the items in question to be located in Los Angeles, California; consequently,
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                                        13   Defendant is purposefully availing itself of this forum to further Defendant’s
                                        14   business. Further, 3M’s claims arise out of and relate to Defendant’s transaction of
                                        15   business and tortious acts committed within the State of California, including in this
                                        16   District. Based on the foregoing, this Court has long-arm jurisdiction over
                                        17   Defendants.
                                        18           28.     A substantial part of the events giving rise to the claims asserted, infra,
                                        19   occurred in this District. Accordingly, venue is proper in this district pursuant to 28
                                        20   U.S.C. § 1391(b)(2). Additionally, Defendant is subject to personal jurisdiction in
                                        21   this District. Accordingly, venue is also proper in this District pursuant to 28 U.S.C.
                                        22   § 1391(b)(3).
                                        23                                             FACTS
                                        24   I.      Plaintiff 3M
                                        25           29.     3M has grown from humble beginnings in 1902 as a small-scale mining
                                        26   venture in Northern Minnesota to what it is today, namely: an industry-leading
                                        27   provider of innovative products throughout the world. Today, 3M’s portfolio
                                        28   includes more than 60,000 goods and services, ranging from household and school
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                                                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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                                         1   supplies, to industrial and manufacturing materials, to medical supplies and
                                         2   equipment.
                                         3           A.      The 3M Brand
                                         4           30.     3M offers its vast array of goods and services throughout the world
                                         5   under numerous brands, including, for example:            ACE; POST-IT; SCOTCH;
                                         6   NEXCARE; and more. Notwithstanding the widespread goodwill and resounding
                                         7   commercial success enjoyed by these brands, 3M’s most famous and widely
                                         8   recognized brand is its eponymous “3M” brand.
                                         9           31.     The 3M brand is associated with products and materials for a wide
                                        10   variety of medical devices, supplies, and PPE, including, for example: respirators;
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                                        11   stethoscopes; medical tapes; surgical gowns, blankets, and tape; bandages and other
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                                        12   wound-care products; and many more. As a result, 3M-branded products are highly
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                                        13   visible throughout hospitals, nursing homes, and other care facilities where patients,
                                        14   care providers, and procurement officers value and rely upon the high quality and
                                        15   integrity associated with the 3M brand.
                                        16           B.      The Famous “3M” Marks
                                        17           32.     Over the past century, 3M has invested hundreds of millions of dollars
                                        18   in advertising and promoting its 3M-branded products to consumers throughout the
                                        19   world (including, without limitation, its 3M-branded N95 respirators) under the
                                        20   standard-character mark “3M” and the 3M logo shown below (together, the “3M
                                        21   Marks”):
                                        22
                                        23
                                        24           33.     For decades, products offered by 3M under the 3M Marks have enjoyed
                                        25   enormous commercial success (including, without limitation, 3M-branded N95
                                        26   respirators), with billions of dollars in sales in 2020 alone.
                                        27
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                                          1           34.     Over the same period of time, products offered under the 3M Marks
                                          2   have regularly been the subject of widespread, unsolicited media coverage and
                                          3   critical acclaim.
                                          4           35.     Based on the foregoing, consumers associate the 3M Marks uniquely
                                          5   with 3M and recognize them as identifying 3M as the exclusive source of goods and
                                          6   services offered under the 3M Marks. Based on the foregoing, the 3M Marks have
                                          7   also become famous among consumers in California and throughout the United
                                          8   States.
                                          9           36.     To strengthen 3M’s common-law rights in and to its famous 3M Marks,
                                         10   3M has obtained numerous federal trademark registrations, including, without
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                                         11   limitation: (i) U.S. Trademark Reg. No. 3,398,329, which covers the standard-
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                                         12   character 3M mark in Int. Classes 9 and 10 for, inter alia, respirators; (ii) U.S.
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                                         13   Trademark Reg. No. 2,692,036, which covers the 3M logo for, inter alia, a “full line
                                         14   of surgical masks, face shields, and respiratory masks for medical purposes”; and
                                         15   (iii) U.S. Trademark Reg. No. 2,793,534, which covers the 3M design mark in Int.
                                         16   Classes 1, 5 and 10 for, inter alia, respirators. True and correct print-outs of 3M
                                         17   Company’s registration certificates for the aforementioned marks are attached hereto
                                         18   as Exhibits 2, 3 and 4.
                                         19           37.     Each of the foregoing Registrations is valid, in effect, and registered on
                                         20   the Principal Trademark Register of the United States Patent & Trademark Office.
                                         21           38.     Each of the foregoing Registrations is “incontestable” within the
                                         22   meaning of 15 U.S.C. § 1065. Accordingly, each Registration constitutes conclusive
                                         23   evidence of: (i) 3M’s ownership of the 3M Marks; (ii) the validity of the 3M Marks;
                                         24   (iii) the validity of the registration of the 3M Marks; and (iv) 3M’s exclusive right
                                         25   to use the 3M Marks throughout the United States for, inter alia, respirators.
                                         26           39.     Plaintiff’s famous 3M Marks do more than identify 3M as the exclusive
                                         27   source of goods and services offered thereunder. Indeed, the famous 3M Marks also
                                         28   signify to consumers that 3M-branded products offered under the 3M Marks are of
                                                                                            10
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                                          1   the highest quality and adhere to the strictest quality-control standards. Now, more
                                          2   than ever, consumers rely on the famous 3M Marks’ ability to signify that products
                                          3   offered under the 3M Marks are of the same high quality that consumers have come
                                          4   to expect of the 3M brand over the past century.
                                          5           C.      3M’s Extensive Efforts to Assist with the Battle Against COVID-19
                                          6           40.     As detailed on 3M’s website, 3M is providing its 3M-branded N95
                                          7   respirator products to healthcare workers, first responders, and the public to help
                                          8   combat the COVID-19 pandemic:
                                          9
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                                         17           41.     Authentic 3M-branded N95 respirators reduce exposure to airborne
                                         18   biological particles and liquid contamination when appropriately selected, fitted, and
                                         19   worn.
                                         20           42.     Based on the exponential increase in demand for 3M-branded N95
                                         21   respirators, 3M has invested in the necessary capital and resources to double its
                                         22   annual production of 1.1 billion N95 respirators. See Exhibit 1; see also Press
                                         23   Release: New Jersey Man Arrested for $45 Million Scheme to Defraud and Price
                                         24   Gouge        New   York    City   During   COVID-19      Pandemic,     available    at
                                         25   https://www.justice.gov/usao-sdny/pr/new-jersey-man-arrested-45-million-
                                         26   scheme-defraud-and-price-gouge-new-york-city-during (May 26, 2020). At the
                                         27   same time, 3M has not increased its U.S. prices for disposable N95 respirators as a
                                         28   result of the pandemic. See id.
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                                          1           43.     Unfortunately, Defendant and other opportunistic third parties have
                                          2   sought to exploit the increased demand for 3M-branded N95 respirators by selling
                                          3   counterfeit versions of 3M’s products, often at inflated prices compared to genuine
                                          4   3M product.
                                          5           44.     3M is working diligently with law enforcement, retail partners, and
                                          6   others to combat unethical and unlawful business practices related to 3M-brand N95
                                          7   respirators in order to protect the public and healthcare professionals from
                                          8   counterfeiting, misleading, and inferior products, to reduce time wasted by
                                          9   healthcare providers and procurement officers on scams, as well as to protect 3M’s
                                         10   goodwill, reputation, and carefully curated 3M brand.
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                                         11           45.     As shown in the inset image, additional examples of 3M’s efforts to
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                                         12   combat price-gouging, counterfeiting, and other unlawful conduct during COVID-
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                                         13   19 include:
                                         14                   A.    3M posted on its website the U.S., per respirator, single case list
                                         15                         price for the most common models of its 3M-branded N95
                                         16                         respirators so that consumers can readily identify inflated pricing
                                         17                         (See Exhibit 1 and https://www.3m.com/3M/en_US/worker-
                                         18                         health-safety-us/covid19/covid-fraud/);
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                                                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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                                          1                   B.   3M created a form on its website as well as a telephone hotline
                                          2                        that the public can use to report suspected incidents of fraud,
                                          3                        price-gouging and counterfeiting (See Exhibit 5);
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                                                              C.   3M has created online resources to help the public spot incidents
                                         13
                                                                   of price-gouging, identify counterfeiting, and ensure products are
                                         14
                                                                   from 3M authorized distributors. See, e.g.,
                                         15
                                                                   https://www.3m.com/3M/en_US/company-us/coronavirus/:
                                         16
                                         17
                                         18
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                                         21
                                                              D.   The 3M website further allows the public to track 3M’s
                                         22
                                                                   enforcement activities against fraudulent activity in connection
                                         23
                                                                   with 3M products, such as N95 respirator products, during the
                                         24
                                                                   COVID-19 pandemic. See https://news.3m.com/English/3m-
                                         25
                                                                   stories/3m-details/2020/3M-expands-actions-globally-to-fight-
                                         26
                                                                   COVID-fraud-counterfeiting-price-gouging/default.aspx:
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                                          7                   E.    To date, 3M has investigated more than 7,700 fraud reports
                                          8                         globally, filed over 20 lawsuits, and has been granted nine
                                          9                         temporary restraining orders and seven preliminary injunctions.
                                         10                         Additionally, over 13,500 false or deceptive social media posts,
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                                         11                         over 11,500 fraudulent e-commerce offerings, and at least 235
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                                         12                         deceptive   domain    names    have   been   removed.       See
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                                         13                         https://www.3m.com/3M/en_US/worker-health-safety-
                                         14                         us/covid19/covid-fraud.
                                         15   II.     Defendant’s Unlawful Conduct
                                         16           46.     Despite 3M’s extensive measures to combat price-gouging and
                                         17   counterfeiting of its 3M-branded N95 respirators, illicit activities by bad actors
                                         18   continue.
                                         19           47.     Defendant is a prime example of this unlawful behavior, which is
                                         20   damaging the 3M brand and jeopardizing the public’s health and safety in a time of
                                         21   unprecedented crisis. Defendant’s conduct also undermines public trust in the 3M
                                         22   trademarks and 3M’s goodwill at a time when the consuming public in this District
                                         23   and throughout the country seeks reliable PPE to safeguard against transmission of
                                         24   the novel coronavirus.
                                         25           48.     Counterfeit sellers like Defendant employ strategies to avoid risks
                                         26   associated with being shut down through takedown requests to e-commerce
                                         27   websites, often acquiring multiple seller aliases for the purpose of offering
                                         28   counterfeit 3M products. These seller alias registration strategies help to conceal
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                                          1   their identities and further hamper efforts to detect the full scope of the often-
                                          2   shadowy counterfeiting operations underlying Defendant’s conduct.
                                          3           49.     Recently, 3M learned of Defendant’s online sales of counterfeit 3M
                                          4   products. From 3M’s review of Defendant’s product listings, 3M has determined
                                          5   that Defendant is offering counterfeit goods bearing the 3M Marks. Representative
                                          6   samples of Defendant’s product offerings are attached as Exhibit 6.
                                          7           50.     Through an investigator, 3M also purchased from Defendant’s eBay
                                          8   account what Defendant represented were genuine 3M 1860 N95 respirators. See
                                          9   Exhibit 6 (product listing).
                                         10           51.     Defendant shipped the counterfeit 3M product from an address in
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                                         11   Canoga Park, California. See Exhibit 7.
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                                         12           52.     Upon receipt of the product, 3M confirmed that it was a counterfeit 3M
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                                         13   product.
                                         14           53.     3M has also determined that Defendant’s eBay seller page contains
                                         15   listings depicting genuine 3M products at inflated prices; in other words, Defendant
                                         16   is price-gouging consumers, intermingling genuine and counterfeit products at
                                         17   inflated prices that are more than six times more expensive than 3M’s published list
                                         18   prices for genuine 3M products.
                                         19           54.     An eBay product listing from the account associated with Defendant
                                         20   shows that Defendant has sold at least 37 units of a 3M N95 1860-model respirator
                                         21   at a price of $179.95 for a carton of 20 respirators. See Exhibit 8. That price,
                                         22   without shipping, is equivalent to $8.49 per respirator, which is more than 6.5 times
                                         23   higher than 3M’s list price of $1.27 for the same model of respirator. See U.S. List
                                         24   Prices:          https://multimedia.3m.com/mws/media/1862179O/get-the-facts-n95-
                                         25   respirator-pricing.pdf.
                                         26           55.     3M has not provided any authorization or license to Defendant to use
                                         27   the 3M Marks in connection with its advertisement, marketing, sale, distribution
                                         28   and/or shipment of 3M products, much less counterfeit 3M products. Despite this,
                                                                                           15
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                                          1   Defendant claims to be an “Authorized US Seller” of 3M products on at least one of
                                          2   its eBay listings for 3M products, as shown here (see Exhibit 9, emphasis added):
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                                         13           56.     On information and belief, Defendant intentionally, knowingly and

                                         14   willfully has used and continue to use the 3M Marks in connection with

                                         15   advertisement, marketing, sale, distribution and/or shipment of counterfeit 3M

                                         16   products into the United States and California by means of interactive Internet

                                         17   websites.

                                         18           57.     Defendant’s unauthorized use of the 3M Marks in connection with the

                                         19   advertising, distribution, offering for sale, and sale of counterfeit 3M products into

                                         20   the United States, including California, is likely to cause and has caused confusion,

                                         21   mistake, and deception by and among consumers and is irreparably harming both

                                         22   consumers and 3M. Among other things, Defendant’s unlawful conduct risks the

                                         23   health and safety of the public, impairs the supply chain supporting healthcare

                                         24   workers and others, and damages 3M’s brand and goodwill.

                                         25           58.     If Defendant’s unlawful conduct is not immediately stopped, there is a

                                         26   substantial risk that consumers will continue to purchase counterfeit 3M products

                                         27   from Defendant believing that they offer the same level of protection and quality

                                         28   provided by genuine 3M products, when in fact these counterfeit 3M products may

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                                          1   be of lower quality and fail to adequately protect the health of the purchasing
                                          2   consumers.
                                          3                                   CLAIMS FOR RELIEF
                                          4                               FIRST CLAIM FOR RELIEF
                                          5                         (Trademark Infringement and Counterfeiting
                                          6                       Under the Lanham Act, 15 U.S.C. §§ 1114, 1117)
                                          7           59.     3M repeats and incorporates by reference the foregoing statements and
                                          8   allegations as though set forth fully herein.
                                          9           60.     Count I is a claim for federal counterfeiting and trademark infringement
                                         10   under 15 U.S.C. §§ 1114, 1117.
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                                         11           61.     3M is the exclusive owner of each of the federally registered 3M Marks.
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                                         12           62.     3M has the exclusive right to use each of the 3M Marks in United States
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                                         13   commerce for, inter alia, advertising, promoting, offering for sale, and selling
                                         14   Plaintiff’s 3M-branded N95 respirators.
                                         15           63.     3M’s exclusive rights in and to each of the 3M Marks predate any rights
                                         16   that Defendant could establish in and to any mark that consists of “3M” in whole
                                         17   and/or in part.
                                         18           64.     Each of the 3M Marks are inherently distinctive.
                                         19           65.     Each of the 3M Marks identifies 3M as the exclusive source of products
                                         20   offered under the 3M Marks (including, without limitation, 3M-branded N95
                                         21   respirators) and, therefore, the 3M Marks have acquired distinctiveness.
                                         22           66.     Defendant is using the 3M Marks in commerce to advertise, promote,
                                         23   offer for sale, and sell and distribute counterfeit 3M-branded respirators, including
                                         24   through the use of interactive websites facilitating such conduct.
                                         25           67.     Defendant’s use of the 3M Marks in commerce on, for, and/or in
                                         26   connection with the advertising, promotion, offering for sale, and/or sale of products,
                                         27   as alleged, herein, is causing, and is likely to continue to cause, consumer confusion,
                                         28   mistake, and/or deception about whether Defendant is 3M, and/or whether
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                                          1   Defendant is a licensee, authorized distributor, and/or affiliate of 3M and/or products
                                          2   that 3M offers under its 3M Marks, including, without limitation, 3M-branded N95
                                          3   respirators.
                                          4           68.     Defendant’s use of the 3M Marks in commerce on, for, and/or in
                                          5   connection with the advertising, promotion, offering for sale, and/or sale of products,
                                          6   as alleged, herein, is causing, and is likely to continue cause, consumer confusion,
                                          7   mistake, and/or deception about whether Defendant’s products are affiliated,
                                          8   connected, and/or associated with 3M and/or products that 3M offers under its 3M
                                          9   Marks, including, without limitation, 3M-branded N95 respirators.
                                         10           69.     Defendant’s use of the 3M Marks in commerce on, for, and/or in
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                                         11   connection with the advertising, promotion, offering for sale, and/or sale of products,
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                                         12   as alleged, herein is causing, and is likely to continue to cause, consumer confusion,
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                                         13   mistake, and/or deception about whether Defendant and/or Defendant’s products
                                         14   originate with, and/or are sponsored or approved by, and/or offered under a license
                                         15   from, 3M.
                                         16           70.     3M has not consented to the use of its famous 3M Marks by Defendant.
                                         17           71.     Defendant reproduces, counterfeits, copies, and/or colorably imitates
                                         18   the registered 3M Marks and apply such reproductions, counterfeits, copies and/or
                                         19   colorable imitations of the 3M Marks to labels, signs, prints, packages, wrappers,
                                         20   receptacles and/or advertisements in connection with the sale, offering for sale,
                                         21   distribution, or advertising of goods or services, which conduct is likely to cause
                                         22   confusion, or to cause mistake, or to deceive consumers.
                                         23           72.     Based on 3M’s longstanding and continuous use of its 3M Marks in
                                         24   United States commerce, as well as the federal registration of the 3M Marks,
                                         25   Defendant had actual and constructive knowledge of 3M’s superior rights in and to
                                         26   the 3M Marks when Defendant began using the 3M Marks as part their bad-faith
                                         27   scheme to confuse and deceive consumers, as alleged, herein.
                                         28           73.     Upon information and belief, Defendant adopted and used the 3M
                                                                                          18
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                                          1   Marks in furtherance of Defendant’s willful, deliberate, and bad-faith scheme of
                                          2   trading upon the extensive consumer goodwill, reputation, fame, and commercial
                                          3   success of products that 3M offers under its 3M Marks, including, without limitation,
                                          4   3M-brand N95 respirators.
                                          5           74.     Upon information and belief, Defendant has made, and will continue to
                                          6   make, substantial profits and gain from its unauthorized use of the 3M Marks, to
                                          7   which Defendant is not entitled at law or in equity.
                                          8           75.     Defendant’s acts and conduct complained of herein constitute
                                          9   actionable infringement in violation of 15 U.S.C. § 1114.
                                         10           76.     3M has suffered, and will continue to suffer, irreparable harm from
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                                         11   Defendant’s acts and conduct complained of herein, unless restrained by law. The
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                                         12   damage suffered by 3M is exacerbated by the fact that Defendant is advertising and
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                                         13   offering for sale counterfeit 3M-branded N95 respirators during a global pandemic
                                         14   when 3M’s products are necessary and relied upon to protect public health. Such
                                         15   conduct invites public criticism of 3M and the manner in which 3M’s N95
                                         16   respirators are being distributed and sold during the COVID-19 pandemic, and is
                                         17   likely to cause confusion about 3M’s role in the marketplace for respirators that are
                                         18   essential to safeguarding public health. Whereas 3M’s corporate values and brand
                                         19   image center around the application of science to improve lives, Defendant’s
                                         20   conduct imminently and irreparably harms 3M’s brand and puts the public’s health
                                         21   and safety at risk.
                                         22           77.     3M has no adequate remedy at law.
                                         23                              SECOND CLAIM FOR RELIEF
                                         24         (Unfair Competition, False Designation of Origin - 15 U.S.C. § 1125(a))
                                         25           78.     3M repeats and incorporates by reference the foregoing statements and
                                         26   allegations as though set forth fully herein.
                                         27           79.     Count II is a claim for federal unfair competition, false endorsement,
                                         28   false association, and false designation of origin under 15 U.S.C. § 1125(a)(1)(A).
                                                                                           19
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                                          1           80.      Upon information and belief, Defendant’s acts and conduct complained
                                          2   of herein constitute unfair competition, false endorsement, false association, and/or
                                          3   false designation of origin in violation of 15 U.S.C. § 1125(a)(1)(A).
                                          4           81.      Upon information and belief, Defendant’s use of Plaintiff’s famous 3M
                                          5   Marks to advertise, market, offer for sale, and/or sell purported 3M-branded N95
                                          6   respirators to consumers, in general, and during a global pandemic such as COVID-
                                          7   19, specifically, also constitutes unfair competition in violation of 15 U.S.C. §
                                          8   1125(a)(1)(A).
                                          9           82.      By using the 3M Marks in connection with the sale of counterfeit
                                         10   products, Defendant creates a false designation of origin and a misleading
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                                         11   representation of fact as to the origin and sponsorship of the counterfeit products.
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                                         12   Defendant’s conduct constitutes willful false designation of origin and
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                                         13   misrepresentation of fact as to the origin and/or sponsorship of the counterfeit
                                         14   products to the general public under 15 U.S.C. §§ 1114, 1125.
                                         15           83.      3M has suffered, and will continue to suffer, irreparable harm from
                                         16   Defendant’s acts and conduct complained of herein, unless restrained by law. 3M
                                         17   has no adequate remedy at law.
                                         18                                THIRD CLAIM FOR RELIEF
                                         19                   (Trademark Dilution Under Section 43(c) of the Lanham Act,
                                         20                                      15 U.S.C. § 1125(c))
                                         21                               (Dilution of the Famous 3M Marks)
                                         22           84.      3M repeats and incorporates by reference the foregoing statements and
                                         23   allegations as though set forth fully herein.
                                         24           85.      Count III is a claim for federal trademark dilution under 15 U.S.C. §
                                         25   1125(c).
                                         26           86.      The 3M Marks are famous and have been famous at all times relevant
                                         27   to this action. The 3M Marks were famous before and at the time Defendant began
                                         28   using the 3M Marks in commerce on, for, and/or in connection with the advertising,
                                                                                           20
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                                          1   promotion, offering for sale, and/or sale of products (including, without limitation,
                                          2   3M-branded N95 respirators).
                                          3           87.     Defendant’s use of Plaintiff’s famous 3M Marks in commerce on, for,
                                          4   and/or in connection with the advertising, promotion, offering for sale, and/or sale
                                          5   of products (including, without limitation, 3M-branded N95 respirators) is likely to
                                          6   dilute the distinctive quality of the famous 3M Marks, such that the famous 3M
                                          7   Marks’ established selling power and value will be whittled away.
                                          8           88.     Defendant’s use of the famous 3M Marks in commerce on, for, and/or
                                          9   in connection with the advertising, promotion, offering for sale, and/or sale of
                                         10   counterfeit products (including, without limitation, 3M-branded N95 respirators) in
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                                         11   general, and during a global pandemic such as COVID-19, specifically is likely to
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                                         12   dilute and tarnish the reputation of the famous 3M Marks, such that the famous 3M
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                                         13   Marks’ established ability to indicate the superior quality of products offered under
                                         14   such Marks (including, without limitation, 3M-branded N95 respirators), will be
                                         15   impaired.
                                         16           89.     Defendant’s misconduct threatens to harm the reputation of the 3M
                                         17   Marks, constituting dilution by tarnishment of the famous 3M Marks.
                                         18           90.     Defendant’s acts and conduct complained of herein constitute
                                         19   trademark dilution in violation of 15 U.S.C. § 1125(c).
                                         20           91.     3M has no adequate remedy at law.
                                         21                              FOURTH CLAIM FOR RELIEF
                                         22          (Price-Gouging and False Advertising in Violation of California Unfair
                                         23             Competition Law – Business & Professions Code, § 17200, et seq.)
                                         24           92.     3M repeats and incorporates by reference the foregoing statements and
                                         25   allegations as though set forth fully herein.
                                         26           93.     Count IV is a claim for price-gouging and false advertising, which is an
                                         27   unlawful business practice and act of unfair competition in violation of California
                                         28   Business & Professions Code § 17200, et seq.
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                                          1           94.     On March 4, 2020, California Governor Gavin Newsom declared a state
                                          2   of emergency to exist in California in response to COVID-19.
                                          3           95.     That same day, California Attorney General Xavier Becerra issued a
                                          4   price-gouging alert reminding all Californians that, under Penal Code § 396, price-
                                          5   gouging is illegal in all California communities during the declared state of
                                          6   emergency.
                                          7           96.     On March 12, 2020, Governor Newsom issued an executive order
                                          8   further enhancing the ability of the California state and local governments to respond
                                          9   to COVID-19.
                                         10           97.     Defendant offers to sell genuine and counterfeit 3M-branded N95
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                                         11   respirators for a price more than six times greater than the price charged by 3M, in
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                                         12   violation of Penal Code § 396.
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                                         13           98.     Defendant’s violation of Penal Code § 396 constitutes an unlawful
                                         14   business practice and an act of unfair competition within the meaning of California
                                         15   Business & Professions Code § 17200, et seq. It is also a crime under California
                                         16   law.
                                         17           99.     In addition, Defendant’s seller page depicts listings of both apparently
                                         18   genuine 3M products along with and counterfeit 3M products, together with a
                                         19   statement that Defendant is an “authorized US Seller” of 3M products, which
                                         20   conduct is designed to confuse consumers into believing that Defendant’s products
                                         21   and/or services are sponsored by, endorsed by, or originate from 3M or are otherwise
                                         22   connected or affiliated with or approved by 3M.
                                         23           100. Defendant’s unauthorized use in commerce of the 3M Marks is also
                                         24   likely to cause consumer confusion or mistake or to deceive consumers into
                                         25   believing that Defendant’s products and/or services are sponsored by, endorsed by,
                                         26   or originate from 3M or are otherwise connected or affiliated with or approved by
                                         27   3M, thereby causing loss, damage, and injury to 3M and to the purchasing public,
                                         28
                                                                                           22
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                                          1   constituting unlawful, unfair, and fraudulent business practices in violation of
                                          2   California Business & Professions Code 17200, et seq.
                                          3           101. Defendant’s marketing and advertisement of products with the 3M
                                          4   Marks, as alleged herein, was intended to and did mislead 3M’s customers and
                                          5   consumers to believe that such products were manufactured or distributed by, or
                                          6   authorized for manufacture or distribution by, 3M, in violation of California
                                          7   Business & Professions Code § 17200, et seq.
                                          8           102. This conduct, together with Defendant’s other acts alleged herein
                                          9   constitute unfair, unlawful, and fraudulent business acts and practices under
                                         10   California Business & Professions Code § 17200, et seq., because such acts are
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                                         11   forbidden by various state and federal laws and are unscrupulous, unfair, and
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                                         12   injurious to 3M. Defendant’s acts have irreparably damaged 3M and the consuming
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                                         13   public and will continue to do so unless restrained by this Court, and 3M is without
                                         14   an adequate remedy at law.
                                         15                              FIFTH CLAIM FOR RELIEF
                                         16                            (Common Law Unfair Competition)
                                         17           103.    3M repeats and incorporates by reference the statements and
                                         18   allegations in the preceding paragraphs of the Complaint as though set forth fully
                                         19   herein.
                                         20           104. Count V is a claim for unfair competition in violation of California
                                         21   common law.
                                         22           105.    Defendant’s acts and conduct complained of herein constitute unfair
                                         23   competition in violation of California common law.
                                         24           106. 3M has suffered, and will continue to suffer, irreparable harm from
                                         25   Defendants’ acts and conduct complained of herein, unless restrained by law.
                                         26           107. 3M has been damaged by the acts of Defendant in an amount, currently
                                         27   unknown, to be proved at trial and donated to charitable COVID-19 relief efforts,
                                         28   and 3M requests the relief set forth in the Prayer below.
                                                                                         23
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                                          1                                   PRAYER FOR RELIEF
                                          2           WHEREFORE, based on Defendant’s conduct complained of herein, 3M
                                          3   asks this Court:
                                          4           A.      To enter an Order, finding in Plaintiff’s favor on each Claim for
                                          5   Relief asserted herein;
                                          6           B.      Pursuant to Federal Rule of Civil Procedure 65, 15 U.S.C. § 1116, and
                                          7   this Court’s inherent powers:
                                          8                   1.    To preliminarily and permanently enjoin Defendant, its agents,
                                          9   servants, employees, officers and all persons and entities in active concert and
                                         10   participation with it from using the 3M Marks—or any reproductions, counterfeit
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                                         11   copies or colorable imitations thereof in any manner, as well as any other mark(s)
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                                         12   confusingly similar thereto— for, on, and/or in connection with the manufacture,
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                                         13   distribution, advertising, promoting, offering for sale, and/or sale of any goods that
                                         14   do not constitute genuine 3M product, or is not authorized by 3M to be sold in
                                         15   connection with the 3M Marks, including, without limitation, 3M-branded N95
                                         16   respirators;
                                         17                   2.    To preliminarily and permanently enjoin Defendant, its agents,
                                         18   servants, employees, officers and all persons and entities in active concert and
                                         19   participation with it from (i) passing off, inducing, or enabling others to sell or pass
                                         20   off any product as a genuine 3M product that is not produced under the authorization,
                                         21   control, or supervision of 3M and approved by 3M for sale under the 3M Marks; (ii)
                                         22   committing any acts calculated to cause consumers to believe that Defendant’s
                                         23   counterfeit 3M products are sold under the authorization, control or supervision of
                                         24   3M, or are sponsored by, approved by, or otherwise connected with 3M; (iii) further
                                         25   infringing the 3M Marks or otherwise damaging 3M’s goodwill; (iv) shipping,
                                         26   distributing, warehousing, or otherwise participating in the storage, distribution, or
                                         27   disposal of counterfeit 3M products.
                                         28
                                                                                           24
                                                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                              115932603\V-1
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                                          1                   3.    To order that, upon 3M’s request, online marketplace platforms
                                          2   hosting Defendant’s seller account (e.g., eBay) shall provide identifying information
                                          3   for the seller account “                 ” and shall cooperate to disable and cease
                                          4   displaying any advertisements used by or associated with Defendant in connection
                                          5   with the sale of counterfeit and infringing goods using the 3M Marks;
                                          6                   4.    To order Defendant to file with the Court and serve upon
                                          7   Plaintiff’s counsel within 30 days after service of the order of injunction, a report in
                                          8   writing under oath setting forth in detail the manner and form in which Defendant
                                          9   has complied with the injunction;
                                         10           C.      Pursuant to 15 U.S.C. § 1117:
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11                   1.    To order Defendant to provide 3M with a full accounting of all
         DENTONS US LLP




                                         12   distribution and sale of products under the 3M Marks (including, without limitation,
           (213) 623-9300




                                         13   3M-branded N95 respirators), as well as all profits derived therefrom;
                                         14                   2.    To order Defendant to disgorge and pay to 3M—for donation to
                                         15   charitable COVID-19 relief efforts—all of Defendant’s profits derived from the sale
                                         16   of infringing and counterfeit goods offered under the 3M Marks (including, without
                                         17   limitation, 3M-branded N95 respirators);
                                         18                   3.    To award 3M—for donation to charitable COVID-19 relief
                                         19   efforts—treble damages in connection with Defendant’s infringement of the 3M
                                         20   Marks;
                                         21                   4.    To find that Defendant’s acts and conduct complained of herein
                                         22   render this case “exceptional”; and
                                         23                   5.    To award 3M—for donation to charitable COVID-19 relief
                                         24   efforts—its costs and reasonable attorney’s fees incurred in this matter; or
                                         25                   6.    In the alternative, to award 3M—for donation to charitable
                                         26   COVID-19 relief efforts—statutory damages pursuant to 15 U.S.C. § 1117(c) of not
                                         27   more than $2,000,000 for each counterfeit mark used by Defendant for each type of
                                         28   goods sold, offered for sale, or distributed, as the Court considers just.
                                                                                          25
                                                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
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                                          1           D.      Pursuant to 15 U.S.C. § 1118, to order the destruction of all
                                          2   unauthorized goods and materials within the possession, custody, and control of
                                          3   Defendant that bear, feature, and/or contain any copy or colorable imitation of 3M’s
                                          4   Marks.
                                          5           E.      For Claims Four and Five, to issue an order permanently enjoining
                                          6   Defendant, its officers, agents, representatives, servants, employees, successors and
                                          7   assigns, and all others in active participation with it from engaging in conduct
                                          8   involving the advertisement or sale of 3M-branded products as described above, to
                                          9   award 3M restitution in the form of disgorgement of profits earned by Defendant in
                                         10   unlawfully selling counterfeit 3M products, and to award 3M its attorneys’ fees,
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11   costs, and expenses pursuant to Cal. C.C.P. § 1021.5, with all such monetary relief
         DENTONS US LLP




                                         12   to be donated to charitable COVID-19 relief efforts.
           (213) 623-9300




                                         13           F.      To award such further restitution as authorized by law, which 3M will
                                         14   donate to charitable COVID-19 relief efforts;
                                         15           G.      To award Plaintiff pre-judgment and post-judgment interest against
                                         16   Defendant, which 3M will donate to charitable COVID-19 relief efforts;
                                         17           H.      To award 3M such other relief that the Court deems just and equitable.
                                         18                               DEMAND FOR JURY TRIAL
                                         19           3M hereby requests a trial by jury for all issues so triable, pursuant to Fed.
                                         20   R. Civ. P. 38(b) and 38(c).
                                         21
                                         22   Dated: November 17, 2020                Respectfully submitted,
                                         23                                           DENTONS US LLP
                                                                                      Jayme C. Long
                                         24                                           Stephanie Peatman
                                         25                                           By: /s/ Jayme C. Long
                                                                                        Jayme C. Long
                                         26
                                                                                      Attorneys for Plaintiff
                                         27                                           3M COMPANY
                                         28
                                                                                           26
                                                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
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Get
the
Facts. N95 Respirator Pricing
$?85<@3ECD?=5BC945>D96I1>41F?949>ɞ1D54@B935C ǡ81C@E2<9C8549DC3EBB5>DC9>7<5 31C5<9CD@B935C6?B
many of the most common 3M N95 respirator models sold in the U.S.

3M has not changed the prices we charge for 3M respirators as a result of the COVID-19 outbreak.



   U.S. List Prices for Common N95                                                                                  Model       Type                      List Price (USD)

   Respirator Models                                                                                                1804       Surgical                                   $0.68
                                                                                                                    1804S      Surgical                                   $0.68
   These list prices are per respirator.                                                                            1860       Surgical                                   $1.27
                                                                                                                    1860S      Surgical                                   $1.27
   These list prices represent suggested prices to end
   customers. 3M’s prices to its authorized distributors are                                                        1870+      Surgical                                   $1.78
   lower than these list prices.                                                                                    8210       Standard                       $1.02 - $1.31
                                                                                                                    8210Plus   Standard                       $1.18 - $1.50
   An end customer’s actual prices may be lower than                                                                8210V      Standard                       $1.48 - $1.88
   these list prices, as negotiated between the end
   customer and its chosen distributor.                                                                             8110S      Standard                       $1.08 - $1.37
                                                                                                                    8200       Standard                       $0.63 - $0.80
   List prices for these models sold in Canada are similar                                                          8511       Standard                       $2.45 - $3.11
   on a currency-adjusted basis.                                                                                    9105       Standard                       $0.64 - $0.81
                                                                                                                    9105S      Standard                       $0.64 - $0.81
                                                                                                                    9210+      Standard                       $1.40 - $1.78
                                                                                                                    9211+      Standard                       $2.68 - $3.40




                                                                      Additional Links
                                                       3M Disposable Respirators | Quick Reference Guide

              If you suspect fraud or price gouging contact 3M immediately.
  Contact the 3M Fraud Hotline at 1 (800) 426-8688 or on the web at go.3M.com/covidfraud.
3M Company | 3M Center | St. Paul, MN 55144-1000 | This document is applicable to U.S and Canada supply of N95 respirators                                                        28
                                                                                                                                          © 3M 2020. All Rights Reserved. Rev B-7/8/2020
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     3M COVID-19 Anti-Fraud, Anti-Price Gouging, and Anti-Counterfe




     Have a concern to report related to Fraud, Price Gouging or Counterfeit p
     At 3M, we are committed to doing all we can to help combat the fraudulent, price gouging, and counterfeit
     will not tolerate any such activity by 3M authorized channel partners and we will aggressively pursue third-p
     enforcement authorities around the world – including, in the U.S., the U.S. Attorney General, State Attorneys

     To learn more about the actions 3M are taking to prevent respiratory product fraud, please click here




https://engage.3m.com/covidfraud                                                                                     1/5
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     COVID-19 Fraud

     Please complete as much of the information requested below as possible. Fields marked with an asterisk are
     that 3M has received the report. We request that you reply to that email and attach any copies of invoices, co
     can help us to investigate the situation.



     Requestor Information

     First Name*



     Last Name*



     Requestor Type*

       Select One


     Company Name (if applicable)



     Email/Business Email Address*



     Phone/Business Phone Number*



     Country/Region*

       United States




     Tell Us About the Fraud You Would Like to Report
     Where is the fraudulent oɢer or conduct occurring?*

       Select One


     Please provide speciɥc web page or URL link to the fraudulent oɢer




https://engage.3m.com/covidfraud                                                                                      2/5
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     Alleged Solicitor/Seller Information
     Please provide as much information as possible.


     Seller First Name



     Seller Last Name



     Seller Company



     Seller Email



     Seller Phone



     Seller Country/Region

       Select One


     Seller's Website




     Fraud Product Details

     Product 1*

       Select One


     Product 1 Price



     Product 1 3M SKU



     Product 1 Quantity



https://engage.3m.com/covidfraud                                                                3/5
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     Product 2

       Select One


     Product 2 Price



     Product 2 3M SKU



     Product 2 Quantity



     Product 3

       Select One


     Product 3 Price



     Product 3 3M SKU



     Product 3 Quantity



     Product Fraud Details*

     Provide as much detail about the interaction as possible including how you ɚrst contacted the seller and wha




     Please be aware that the information you supply about yourself, or any aspect of 3M’s operations may result
     information that, to the best of your knowledge, is correct. You will not be sanctioned for submitting informa
     knowingly provide false or misleading information, it may result in disciplinary or judicial action.

     3M respects your right to privacy. 3M will collect, use, and disclose the personal information you provide in
     disclosures described in our Privacy Policy, 3M may share all personal information you provided in this form
     governmental authorities, regulators or courts: (i) to comply with a law, regulation, court order, or other lega
     investigating and responding to fraud, intellectual property infringement, violation of our contracts or agreem
https://engage.3m.com/covidfraud                                                                                        4/5
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     protect 3M rights or property or yours or others’ health, safety, welfare, rights, or property; or (iv) under sim
     Covid 19 situation. If 3M elects to share personal information with law enforcement agencies, governmental
     personal information.

     Submit




https://engage.3m.com/covidfraud                                                                                         5/5
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                                                                                                                             | eBay

  Hi Chris!                                                                                                                                                                    Sell      Watchlist                      My eBay



                                   Search for anything                                                                                                                         All Categori…

 ]
       Back to home page | Listed in category:   Business & Industrial > Healthcare, Lab & Dental > Medical, Lab & Dental Supplies > Disposable Face Masks >
                                                 See more 3M N95 Health Care Particulate Respirator Mask...




     SAVE UP TO 7% WHEN YOU BUY MORE
                                                                                                  3M 1860 N95 NIOSH Protective Face Mask
                                                                                                                                                                                      Shop with confidence
                                                                                                  Particulate Respirator Surgical 20 PACK
                                                                                                  3M™ Particulate Respirator 1860, 20 PACK SEALED RETAIL                                           eBay Money Back Gu
                                                                                                     31 viewed per hour                         99 product ratings
                                                                                                                                                                                                   Get the item you order
                                                                                                                                                                                                   your money back. Lear



                                                                                                   Condition: New                                                                     Seller information
                                                                                                                                                                                                                    (426431                 )
                                                                                                                           Buy 1               Buy 2                                  100%]Positive feedback
                                                                                                          Bulk
                                                                                                                        $158.89/ea          $150.95/ea
                                                                                                      savings:
                                                                                                                                                                                            Save this Seller
                                                                                                                           Buy 3                                                      Contact seller
                                                                                                                        $149.36/ea                                                    Visit store
                                                                                                                                                                                      See other items
                                                                                                     Quantity:      1        4 or more for $147.77/ea

                                                                                                                   More than 10 available
                                                                                                                   970 sold / See feedback
                                                                                                                                                                                       Protect the momen
                                                                                                                                                                                       matter with life insu
                                                                                                        Price:   US                                   Buy It Now

                                                                                                                 $158.89/e
                                                                                                                        / a
                                                                                                                 No Interest if paid                  Add to cart
                                                                                                                 in full in 6 mo on
                                                                                                                 $99+*
                                                                                                                                                    Add to Watchlist
                                                                                                                                                                                       State Farm Life Insurance Company (Not licensed in MA, NY
                                                                                                                                                                                       State Farm Life and Accident Assurance Company (Licensed

                                                                                                      100% buyer                                      More than 87%
                                                                                                                                970 sold
                                                                                                      satisfaction                                        sold
                              Have one to sell?        Sell now
                                                                                                     Shipping: FREE Standard Shipping | See details
                                                                                                             ] Item location:                         , United States

                                                                                                             ] Ships to: United States See exclusions

                                                                                                      Delivery: Estimated between Fri. Nov. 20 and Mon. Nov.
                                                                                                                   23 to 95134 ]

                                                                                                    Payments:



                                                                                                                   *No Interest if paid in full in 6 months on $99+. ]|] See
                                                                                                                   terms and apply now

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                                                                                                                            eBay Mastercard®. Learn more

                                                                                                      Returns: Free 30 day returns |] See details




     Similar sponsored items 1/2                                                                                                                                                                                          Feedback on




https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…                                                                                                  1/7
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    3M N95 Protective                 Honeywell N95 Face Mask         3M™ VFlex™ 9105 NIOSH             3M Aura 9205+ N95                  20 pack Medicom Safe+       3M 8200 N95
    Disposable Face Mask…             Niosh Approved N-95…            Approved N95 Particulat…          NIOSH Protective…                  N95 Disposable Face…        Disposable Fa
    $38.99                            $49.50                          $165.00                           $35.69                             $98.90                      $89.99
    Free shipping                     Free shipping                   Free shipping                     Free shipping                      Free shipping               Free shipping
    Seller 99.8% positive             Seller 99.9% positive           Seller 99.8% positive             Seller 99.8% positive              Seller 99.8% positive       Seller 99.8% po
    ]                                 ]                               ]                                 ]                                  ]                           ]




   Sponsored items from this seller 1/2                                                                                                                                    Feedback on




    3M Aura 9205+ N95                 3M 9132 N95 Protective          N95 Protective                    Venus V-410 V N95 NIOSH            3M 9502V+ N95               3M 9542V KN9
    NIOSH Protective…                 Disposable Face Mask…           Disposable Face Mask…             Protective Disposable…             Protective Disposable…      Mask Protectiv
    $35.79                            $48.75                          $28.99                            $24.95                             $27.89                      $38.75
    Free shipping                     Free shipping                   Free shipping                     Free shipping                      Free shipping               Free shipping
    Popular                           Popular                         ]                                 ]                                  Popular                     ]
    ]                                 ]                                                                                                    ]




   Description         Shipping and payments



                                                                                                                                                               eBay item number: 1936
     Seller assumes all responsibility for this listing.

     Last updated on ]Nov 15, 2020 12:32:54 PST] View all revisions

        Item specifics
        Condition:       New: A brand-new, unused, unopened, undamaged item in                Model:                            1860
                         its original packaging (where packaging is ... Read more
        UPC:             50707387419429                                                       MPN:                              1860
        3M ID:           70070612364-PERU                                                     Brand:                            3M
        Pack Size:       20                                                                   Intended Use/Discipline:          Anesthesiology, Biological Laboratory, Cardiology,
                                                                                                                                Cosmetology, Dental Laboratory, Dentistry, Dermatology
                                                                                                                                Emergency Medicine, Endocrinology, Endodontics
        Expiration:      2025                                                                 Rating:                           NIOSH N95



                                                                                                                                       Search within store
                                                      (426431      ) 100%
                                          Sign up for newsletter

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                                      Items On Sale




https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…                                           2/7
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                                   3M 1860 N95 NIOSH Protective Face Mask Particulate Respirator Surgical 20 PACK



                                            20 PACK - RETAIL SEALED PACKAGING
     Details
         NIOSH Approved: N95

         Manufactured by 3M Peru

         Helps protect against certain airborne biological particles

https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…   3/7
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         Fluid resistant and disposable

         SKU: 70070612364 UPC: 50707387419429

     This health care particulate respirator and surgical mask helps provide respiratory protection against certain airborne biological
     particles. It is disposable and fluid resistant to splash and spatter of blood and other infectious material.

     This healthcare respirator is designed to help provide respiratory protection for the wearer. It meets CDC guidelines for Mycobacterium
     tuberculosis exposure control. As a disposable particulate respirator, it is intended to help reduce wearer exposure to certain airborne
     particles including those generated by electrocautery, laser surgery, and other powered medical instruments. As a surgical mask, it is
     designed to be fluid resistant to splash and spatter of blood and other infectious materials.
     Features include:
         NIOSH approved N95

         Meets CDC guidelines for Mycobacterium tuberculosis exposure control

         99% BFE (Bacterial Filtration Efficiency) according to ASTM F2101

         Fluid resistant according to ASTM F1862

         Respirator contains no components made from natural rubber latex

         Collapse resistant cup shape design

         Braided headbands, cushioning nose foam, and lightweight construction for comfortable wear

     Specifications


      Aerosol Type                  Non-Oil


      Braided Comfort Strap         Yes


      Brand                         3M™


      Cartridge or Filter           Yes
      Included


      Case Quantity                 120


      Class                         Market Leader


      Exhalation Valve              No


      Faceseal/Nosefoam             Nosefoam




      Features                      Advanced Electrostatic Media


      Filter Class                  N95


      Flame Resistance              No
      (ASTM D2859-96)


      Flammability Rating           Class 1


      Fluid Resistance              120mm Hg


      Fluid Resistant (ASTM         Yes
      F1862)


      Gas & Vapor Protection        Particulates
      Type


      Hazard Type                   Mold, Silica


        Individually Wrapped     No
https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…         4/7
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                                                                                                                     | eBay
         d dua y  apped    o


      Market                    Aerospace, Defense, Homeland Security


      Model                     1860


      National Stock Number     6532014225282


      Natural Rubber Latex      No
      Components


      Packaging                 Bulk Case


      Product Color             Teal


      Product Type              Healthcare Respirator


      Purpose                   Healthcare Respirator


      Recommended               Agricultural Production, Airborne Biological
      Application               Particles, Bagging, Dry Chemical Handling,
                                Foundry Operations, Grinding,
                                Petrochemical Manufacturing, Processing of
                                Minerals, Sanding, Textile Operations

      Recommended Industry      Health Care


      Respirator Size           Standard


      Respirator Style          Cup


      Segment                   Personal Safety


      Size                      Standard


      Standards/Approvals       N95


      Strap Attachment Type     Braided Comfort Strap




     Payment Information:
          We Accept PayPal
          We Accept Credit Card via PayPal




     Shipping Information:
          SHIPS SAME DAY WITHIN 1-2 HOURS ASAP
          SHIPS IMMEDIATELY
          TOP PRIORITY FOR FULFILLMENT (Items gets fulfilled first over any other orders)



     Refund & Return Policy:
          We offer a 30 day return policy on all items purchased from us.
          Please contact us within 30 days after receipt of the item for a return.
https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…   5/7
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                                                                                                                            | eBay
           ease co tact us t      30 days a te ece pt o t e te o a etu
          Do not ship the item back to us without contacting us first.
          Return shipping is responsibility of buyer.




                                                                          -
          We thank you so much for looking! If you have any questions or concerns, please do not hesitate to message us. Have a grea




     Ratings and Reviews                                                                                                                                                    Write a




          4.3
                                        4
                                        5                                 75
                                        3                                 7
                                                                                                     88%                      70%                         89%
                                        2                                 3
                                        1                                 0
                                                                          14                  Would recommend              Good value                 Good quality
         99 product ratings




     Most relevant reviews                                                                                                                                                See all 7


                                     Real N95's, but expensive
      by jake_9027
                                     Product was of good quality, and staff are reporting that the fit is comfortable, nursing staff believe these mask are actual N95's and qu
      Oct 20, 2020
                                     appears well made and genuine.
       Top favorable review

                                     Price is rather high, but given the market competition for PPE at this time, we were willing to pay that high cost. Product was made in Ch
                                     but delivered via Canada. Read full review…
                                     Verified purchase: Yes | Condition: New | Sold by:

                                            (1)    (0)




                                     Good protection, easy breathing, but uncomfortable
      by jmor3007
                                     On the plus side, it's a surgical-rated N95 mask, so it's rated to filter out airborne bacteria and viruses as well as particulates. So it prote
      Oct 06, 2020
                                     the wearer as well as others. It's also easier to breathe using this mask than using a soft mouth and face covering. On the minus side, it'
       Top critical review
                                     expensive (I paid $54 for 3 masks) and is uncomfortable on the bridge of the nose if you're wearing it for an extended period. I would be
                                     happier with it if it didn't become uncomfortable.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (2)        (0)




                                     These masks look to be the real thing.
      by skrim
                                     Arrived sealed in a retail looking box with a hologram seal on it. They look to be the same build quality as my pre-Covid 3M N95 dust m
      Oct 14, 2020
                                     had around from last year. The seal I mentioned says "3M Peru" on it, so I guess they came from Peru. I checked and 3M does in fact ha
                                     medical supply division in Lima, so that checks out. Price is a bit high but in line with the market, supply and demand etc. Happy to ge
                                     as I'll feel a bit safer when I have to get on a plane later this year.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                            (1)    (0)




https://www.ebay.com/itm/3M-1860-N95-NIOSH-Protective-Face-Mask-Particulate-Respirator-Surgical-20-PACK/193670786751?epid=2255267244&h…                                          6/7
                                                                                                                                                                                  50
11/16/2020Case         2:20-cv-10536-JVS-JEM         Document
                                3M 1860 N95 NIOSH Protective        1 Particulate
                                                             Face Mask Filed 11/18/20           Page
                                                                                  Respirator Surgical    51 of50707387419429
                                                                                                      20 PACK   85 Page ID       #:51
                                                                                                                             | eBay


                                                  Regular Size N-95
       by robert_lutz
                                                  Made a mistake in not understanding the size difference between small and regular. These regular sized masks are the ones that prope
       Nov 03, 2020
                                                  an adult.
                                                  Verified purchase: Yes | Condition: New | Sold by:

                                                       (0)          (0)




                                                  USA MADE 3M N95 MASKS ARE GREAT
       by jpri7403
                                                  The 3M N95 1860 masks made in the U.S. are well made and as comfortable to wear as any N95 mask. Just make sure that they are mad
       Sep 28, 2020
                                                  the US and not in Singapore. The Singapore-made masks are of poor quality.
                                                  Verified purchase: Yes | Condition: New | Sold by: asatechmedinc


                                                       (0)          (0)




 Back to home page | See More Details about "3M N95 Health Care Particulate Respirator Mask - Size ..."
 More to explore : 3M Full Face Respirator Masks, 3M Industrial Masks & Respirators, 3M Industrial Respirator Masks, 3M Half Mask Industrial Respirator Masks,
 3M Full Face Mask L Industrial Respirator Masks, Full Face Mask Industrial Respirator Masks, 3M N95 Filter Class Industrial Mask Replacement Cartridges, Industrial Masks & R
 Full Face Respirator, MSA Industrial Masks & Respirators




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                                                                                                                                                                                   51
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                                       3M N95 1860s Health         1 Filed
                                                           Care Respirator     11/18/20
                                                                           NIOSH              Page
                                                                                 Small Size Surgical   57- Box
                                                                                                     Mask  of 85
                                                                                                               of 20 |Page
                                                                                                                      eBay ID #:57

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                                                                                                    3M N95 1860s Health Care Respirator
                                                                                                                                                                                        Shop with confidence
                                                                                                    NIOSH Small Size Surgical Mask - Box of 20
                                                                                                                                                                                               eBay Money Back Gu
                                                                                                     Condition: New                                                                            Get the item you order
                                                                                                                                                                                               your money back. Lear
                                                                                                       Quantity:       1           More than 10 available
                                                                                                                                   37 sold / See feedback

                                                                                                                                                                                        Seller information

                                                                                                          Price:   US $179.
                                                                                                                         9 95                           Buy It Now
                                                                                                                                                                                                         (21035
                                                                                                                                                                                        99.5%]Positive feedback
                                                                                                                                                                                                                    )

                                                                                                                   No Interest if paid
                                                                                                                   in full in 6 mo on                   Add to cart                         Save this Seller
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                                                                                                                                                                                        Contact seller
                                                                                                                                                      Add to Watchlist                  Visit store
                                                                                                                                                                                        See other items
                                                                                                        100% buyer
                                                                                                                                   37 sold                 6 watchers
                                                                                                        satisfaction

                                                                                                       Shipping: $14.95 Expedited Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                       Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                       ]

                                                                                                      Payments:



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     3M™ N95 1860 Health                   3M 1860 N95 NIOSH                     3M N95 Small Disposable              3M™ VFlex™ 9105 NIOSH                   3M Aura 9205+ N95                       3M 8200 N95
     Care Particulate…                     Protective Face Mask…                 Face Mask NIOSH…                     Approved N95 Particulat…                NIOSH Protective…                       Disposable Fa
     $160.00                               $158.89                               $122.49                              $165.00                                 $35.89                                  $89.99
     Free shipping                         Free shipping                         Free shipping                        Free shipping                           Free shipping                           Free shipping
     Seller 99.3% positive                 Seller 100% positive                  Almost gone                          Seller 99.8% positive                   Seller 99.8% positive                   Seller 99.8% po
     ]                                     ]                                     ]                                    ]                                       ]                                       ]




     Sponsored items from this seller 1/2                                                                                                                                                                  Feedback on

https://www.ebay.com/itm/3M-N95-1860s-Health-Care-Respirator-NIOSH-Small-Size-Surgical-Mask-Box-of-20/264906934024?hash=item3dadaf0708:…                                                                            1/3
                                                                                                                                                                                                                        57
11/10/2020Case        2:20-cv-10536-JVS-JEM       Document
                                     3M N95 1860s Health         1 Filed
                                                         Care Respirator     11/18/20
                                                                         NIOSH              Page
                                                                               Small Size Surgical   58- Box
                                                                                                   Mask  of 85
                                                                                                             of 20 |Page
                                                                                                                    eBay ID #:58




    Pack of 3 - 3M N95 1860s          3 Pack of 3M 8110S N95       New Sealed 3M 8210 Mask       New Sealed 3M 8200 N95         New Sealed 3M 8210 Plus        Pack of 3 AUTH
    Health Care Respirator…           NIOSH Particulate…           N95 NIOSH Particulate…        NIOSH Particulate…             N95 NIOSH Particulate…         8210 N95 NIOS
    $39.99                            $39.99                       $145.00                       $139.95                        $174.95                        $26.95
    + $5.95 shipping                  + $5.95 shipping             + $9.95 shipping              + $14.95 shipping              + $14.95 shipping              Free shipping
    Popular                           ]                            Popular                       ]                              Popular                        Popular
    ]                                                              ]                                                            ]                              ]




    Description        Shipping and payments



                                                                                                                                                    eBay item number: 2649
     Seller assumes all responsibility for this listing.

     Last updated on ]Nov 07, 2020 10:20:42 PST] View all revisions

         Item specifics
         Condition:       New: A brand-new, unused, unopened, undamaged item in its original      Model:      N95
                          packaging (where packaging is ... Read more
         Brand:           3M                                                                      MPN:        1860S




                                                                                                                                                            Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                               3M N95 1860S Small Respirator Particulate Face Mask.

         Hair Care                            You will receive 1 box of 20 masks with each order.

         Skin Care                            Box has a lot of damage.

                                              New old stock.
         Cosmetics

                                              Please contact us with any questions.
         Tools


         Men Care


         Baby Care


         Other




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 3m Versaflo In Industrial Respirator Masks, 3M N95 Filter Class Industrial Mask Replacement Cartridges, 3M N95 Filter Class Industrial Disposable Filter Masks,
 Industrial Masks & Respirators, Industrial Respirator Masks, Other Industrial Masks & Respirators




https://www.ebay.com/itm/3M-N95-1860s-Health-Care-Respirator-NIOSH-Small-Size-Surgical-Mask-Box-of-20/264906934024?hash=item3dadaf0708:…                                     2/3
                                                                                                                                                                              58
11/10/2020Case         2:20-cv-10536-JVS-JEM       Document
                                      3M N95 1860s Health         1 Filed
                                                          Care Respirator     11/18/20
                                                                          NIOSH              Page
                                                                                Small Size Surgical   59- Box
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                                                                                                                     eBay ID #:59


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11/16/2020Case           2:20-cv-10536-JVS-JEM          Document
                                  Sealed 3M N95 1860 Health              1 Respirator
                                                            Care Protective Filed 11/18/20
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                                                                                                     Mask 2061 of50707387419429
                                                                                                             Pack 85 Page ID       #:61
                                                                                                                                | eBay

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                                                   See more 3M N95 Health Care Particulate Respirator Mask...




     This item is out of stock.



                                                                                                    Sealed 3M N95 1860 Health Care Protective
                                                                                                                                                                                        Shop with confidence
                                                                                                    Respirator NIOSH Surgical Mask 20 Pack
                                                                                                    AUTHORIZED US SELLER !                                                                     eBay Money Back Gu
                                                                                                                     99 product ratings
                                                                                                                                                                                               Get the item you order
                                                                                                                                                                                               your money back. Lear
                                                                                                     Condition: New

                                                                                                       Quantity:                   0 available
                                                                                                                       1                                                                Seller information
                                                                                                                                   53 sold / See feedback
                                                                                                                                                                                                         (21079   )
                                                                                                                                                                                        99.5%]Positive feedback

                                                                                                          Price:   US $159.
                                                                                                                         9 95
                                                                                                                   No Interest if paid                                                      Save this Seller
                                                                                                                   in full in 6 mo on                                                   Contact seller
                                                                                                                   $99+*                                                                Visit store
                                                                                                                                                                                        See other items
                                                                                                       Shipping: FREE Expedited Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                        Delivery: Estimated on or before Mon. Nov. 23 to 95134
                                                                                                                       ]

                                                                                                      Payments:



                                                                                                                     *No Interest if paid in full in 6 months on $99+. ]|] See
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      Description          Shipping and payments



                                                                                                                                                                                          eBay item number: 2648
       Seller assumes all responsibility for this listing.

       Last updated on ]Oct 14, 2020 00:45:02 PDT] View all revisions

           Item specifics
           Condition:        New: A brand-new, unused, unopened, undamaged item in its original                        Model:         N95
                             packaging (where packaging is ... Read more
           Brand:            3M                                                                                        MPN:           1860




                                                                                                                                                                                                  Visit Store: ] payles
                                                             (21079      ) 99.5%




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            2:20-cv-10536-JVS-JEM          Document
                     Sealed 3M N95 1860 Health              1 Respirator
                                               Care Protective Filed 11/18/20
                                                                         NIOSH SurgicalPage
                                                                                        Mask 2062 of50707387419429
                                                                                                Pack 85 Page ID       #:62
                                                                                                                   | eBay

     Categories            New Sealed 3M N95 1860 Health Care Respirator Particulate NIOSH Surgical Mask.

        Hair Care                     You will receive 1 box of 20 masks with each order.

        Skin Care                     Regular Size -M/L. Expire 2025.


        Cosmetics
                                      Please contact us with any questions.

        Tools


        Men Care


        Baby Care


        Other




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    New Sealed 3M 8210 Plus    3M 1860 N95 NIOSH       Pack of 3 - 3M N95 1860s   3M 9502V+ N95                3M 9132 N95 Protective           Sealed 3M N95
    N95 NIOSH Particulate…     Protective Face Mask…   Health Care Respirator…    Protective Disposable…       Disposable Face Mask…            Health Care Re
    $174.95                    $158.89                 $39.99                     $27.89                       $48.75                           $149.95
    + $14.95 shipping          Free shipping           + $5.95 shipping           Free shipping                Free shipping                    + $14.95 shippin
    Seller 99.5% positive      Seller 100% positive    Almost gone                Seller 100% positive         Seller 100% positive             Seller 99.5% po
    ]                          ]                       ]                          ]                            ]                                ]




     Ratings and Reviews                                                                                                                                Write a




           4.3
                                        5                      75
                                        4                      7
                                        3
                                                                                   88%                     70%                        89%
                                                               3
                                        2                      0
                                        1                      14             Would recommend            Good value              Good quality
          99 product ratings




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                                                                                                                                                             62
11/16/2020Case       2:20-cv-10536-JVS-JEM          Document
                              Sealed 3M N95 1860 Health              1 Respirator
                                                        Care Protective Filed 11/18/20
                                                                                  NIOSH SurgicalPage
                                                                                                 Mask 2063 of50707387419429
                                                                                                         Pack 85 Page ID       #:63
                                                                                                                            | eBay

                                     Real N95's, but expensive
      by jake_9027
                                     Product was of good quality, and staff are reporting that the fit is comfortable, nursing staff believe these mask are actual N95's and qu
      Oct 20, 2020
                                     appears well made and genuine.
       Top favorable review

                                     Price is rather high, but given the market competition for PPE at this time, we were willing to pay that high cost. Product was made in Ch
                                     but delivered via Canada.


                                     We would purchase again.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (1)       (0)




                                     Good protection, easy breathing, but uncomfortable
      by jmor3007
                                     On the plus side, it's a surgical-rated N95 mask, so it's rated to filter out airborne bacteria and viruses as well as particulates. So it prote
      Oct 06, 2020
                                     the wearer as well as others. It's also easier to breathe using this mask than using a soft mouth and face covering. On the minus side, it'
       Top critical review
                                     expensive (I paid $54 for 3 masks) and is uncomfortable on the bridge of the nose if you're wearing it for an extended period. I would be
                                     happier with it if it didn't become uncomfortable.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (2)        (0)




                                     These masks look to be the real thing.
      by skrim
                                     Arrived sealed in a retail looking box with a hologram seal on it. They look to be the same build quality as my pre-Covid 3M N95 dust m
      Oct 14, 2020
                                     had around from last year. The seal I mentioned says "3M Peru" on it, so I guess they came from Peru. I checked and 3M does in fact ha
                                     medical supply division in Lima, so that checks out. Price is a bit high but in line with the market, supply and demand etc. Happy to ge
                                     as I'll feel a bit safer when I have to get on a plane later this year.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (1)       (0)




                                     Regular Size N-95
      by robert_lutz
                                     Made a mistake in not understanding the size difference between small and regular. These regular sized masks are the ones that prope
      Nov 03, 2020
                                     an adult.
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (0)        (0)




                                     USA MADE 3M N95 MASKS ARE GREAT
      by jpri7403
                                     The 3M N95 1860 masks made in the U.S. are well made and as comfortable to wear as any N95 mask. Just make sure that they are mad
      Sep 28, 2020
                                     the US and not in Singapore. The Singapore-made masks are of poor quality.
                                     Verified purchase: Yes | Condition: New | Sold by: asatechmedinc


                                         (0)        (0)




   More from this seller 1/2                                                                                                                                             Feedback on




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                                                          Care Protective Filed 11/18/20
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                                                                                                   Mask 2064 of50707387419429
                                                                                                           Pack 85 Page ID       #:64
                                                                                                                              | eBay




    Pack of 3 - 3M N95 1860                Sealed 3M N95 1860s                    Pack of 3 - 3M N95 1860s               New Sealed 3M 8210 Mask                 New Sealed 3M 8200 N95   New Sealed 3M
    Health Care Respirator…                Health Care Respirator…                Health Care Respirator…                N95 NIOSH Particulate…                  NIOSH Particulate…       N95 NIOSH Pa
    $39.95                                 $149.95                                $39.99                                 $145.00                                 $139.95                  $174.95
    + $5.95 shipping                       + $14.95 shipping                      + $5.95 shipping                       + $9.95 shipping                        + $14.95 shipping        + $14.95 shippin
    Popular                                ]                                      Popular                                Popular                                 ]                        Popular
    ]                                                                             ]                                      ]                                                                ]




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                                  New Sealed 3M 8210 Plus N95 NIOSH1Particulate
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                                                                                        Face Mask Box65  of51131529243
                                                                                                      of 20 85 Page| eBay
                                                                                                                       ID #:65
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                                                 See more 3M 8210 Plus N95 Particulate Respirator Face M...




                                                                                                  New Sealed 3M 8210 Plus N95 NIOSH
                                                                                                                                                                                      Shop with confidence
                                                                                                  Particulate Respirator Face Mask Box of 20
                                                                                                                                                                                             eBay Money Back Gu
                                                                                                      150 viewed per day                         54 product ratings
                                                                                                                                                                                             Get the item you order
                                                                                                                                                                                             your money back. Lear
                                                                                                    Condition: New

                                                                                                     Quantity:       1           More than 10 available
                                                                                                                                 278 sold / See feedback                              Seller information
                                                                                                                                                                                                       (21079   )
                                                                                                                                                                                      99.5%]Positive feedback
                                                                                                        Price:   US $174
                                                                                                                      7 .95                           Buy It Now
                                                                                                                 No Interest if paid                                                      Save this Seller
                                                                                                                 in full in 6 mo on
                                                                                                                                                      Add to cart                     Contact seller
                                                                                                                 $99+*
                                                                                                                                                                                      Visit store
                                                                                                                                                    Add to Watchlist                  See other items


                                                                                                      100% buyer                                      More than 84%
                                                                                                                                278 sold
                                                                                                      satisfaction                                         sold

                                                                                                     Shipping: $14.95 Standard Shipping | See details
                                                                                                             ] Item location: Los Angeles, California, United States
                                                                                                             ] Ships to: United States See exclusions

                                                                                                      Delivery: Estimated on or before Mon. Nov. 23 to 95134
                                                                                                                     ]

                                                                                                    Payments:



                                                                                                                   *No Interest if paid in full in 6 months on $99+. ]|] See
                                                                                                                   terms and apply now

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                              Have one to sell?        Sell now                                                             eBay Mastercard®. Learn more

                                                                                                      Returns: Seller does not accept returns |] See details




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     3M 1860 N95 NIOSH                   3M N95 Protective                     3M™ VFlex™ 9105 NIOSH                Honeywell N95 Face Mask                 3M Aura 9205+ N95                       3M N95 Mask
     Protective Face Mask…               Disposable Face Mask…                 Approved N95 Particulat…             Niosh Approved N-95…                    NIOSH Protective…                       Particulate Res
     $158.89                             $38.99                                $165.00                              $49.50                                  $35.69                                  $120.00
     Free shipping                       Free shipping                         Free shipping                        Free shipping                           Free shipping                           Free shipping
     Seller 100% positive                Seller 99.8% positive                 Seller 99.9% positive                Seller 99.9% positive                   Seller 99.8% positive                   Seller 99.8% po
     ]                                   ]                                     ]                                    ]                                       ]                                       ]




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                                                                                                                                                                                                                    65
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                                New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                     Filed Respirator
                                                                              11/18/20     Page
                                                                                      Face Mask Box66  of51131529243
                                                                                                    of 20 85 Page| eBay
                                                                                                                     ID #:66
   Sponsored items from this seller 1/2                                                                                                                    Feedback on




    New Sealed 3M 8210 Mask           New Sealed 3M 8200 N95          Pack of 3 3M 8210 Plus   Pack of 3 AUTHENTIC 3M   Sealed 3M N95 1860s          3 Pack of 3M 8
    N95 NIOSH Particulate…            NIOSH Particulate…              N95 NIOSH Particulate…   8210 N95 NIOSH…          Health Care Respirator…      NIOSH Particu
    $145.00                           $139.95                         $39.95                   $29.95                   $149.95                      $39.99
    + $9.95 shipping                  + $14.95 shipping               + $5.95 shipping         Free shipping            + $14.95 shipping            + $5.95 shippin
    Popular                           ]                               Popular                  Popular                  ]                            ]
    ]                                                                 ]                        ]




   Description         Shipping and payments



                                                                                                                                            eBay item number: 264
     Seller assumes all responsibility for this listing.

     Last updated on ]Nov 14, 2020 11:20:06 PST] View all revisions

        Item specifics
        Condition:       New: A brand-new, unused, unopened, undamaged item in its original    Model:     N95
                         packaging (where packaging is ... Read more
        Brand:           3M                                                                    MPN:       8210PLUS




                                                                                                                                                  Visit Store: ] payles
                                                      (21079   ) 99.5%




                                      Hi outgrabe. If you like what you see, browse my Store to find more items you may love.




     Categories                               3M 8210 Plus NIOSH Particulate Respirator Face Mask.

        Hair Care                             You will receive 1 box of 20 masks with each order.

        Skin Care                             Expire-06-2025.

                                              Please contact us with any questions.
        Cosmetics


        Tools


        Men Care


        Baby Care


        Other




https://www.ebay.com/itm/New-Sealed-3M-8210-Plus-N95-NIOSH-Particulate-Respirator-Face-Mask-Box-of-20/264819196896?hash=item3da87443e…                             2/5
                                                                                                                                                                    66
11/16/2020Case       2:20-cv-10536-JVS-JEM         Document
                                New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                     Filed Respirator
                                                                              11/18/20Face Page
                                                                                           Mask Box67  of51131529243
                                                                                                    of 20 85 Page| eBay
                                                                                                                     ID #:67

   Sponsored items based on your recent views 1/3                                                                                                                     Feedback on




    3M 1860 N95 NIOSH          Pack of 3 - 3M N95 1860s        3M 9502V+ N95                      3M 9132 N95 Protective       3M 8210 N95 Particulate            New Sealed 3M
    Protective Face Mask…      Health Care Respirator…         Protective Disposable…             Disposable Face Mask…        Respirator Mask (Box of…           NIOSH Particu
    $158.89                    $39.99                          $27.89                             $48.75                       $89.89                             $139.95
    Free shipping              + $5.95 shipping                Free shipping                      Free shipping                Free shipping                      + $14.95 shippin
    Seller 100% positive       Almost gone                     Seller 100% positive               Seller 100% positive         New                                Seller 99.5% po
    ]                          ]                               ]                                  ]                            ]                                  ]




     Ratings and Reviews                                                                                                                                                  Write a




           3.6
                                        5                               33
                                        4
                                                                        1
                                        3
                                                                                                     62%                   66%                        76%
                                                                        1
                                        2
                                                                        3
                                        1                                                  Would recommend               Good value                Good quality
         54 product ratings                                             16




     Most relevant reviews                                                                                                                                             See all 4


                                    not recommendation, not exception
      by dalane408
                                    Not worth the money. time to riff off customer $11 for each. Just panic to buy, no other option. It sweat, hard to breath, has to wear over n
      Mar 24, 2020
                                    and head.
                                    Verified purchase: Yes | Condition: New | Sold by: partycus


                                            (11)   (3)




                                    You can’t breath with this mask
      by 6carmina6
                                    I know the mask is to help avoid particles to enter your system. But when I put it on I couldn’t breath, it didn’t allow my transportations t
      Mar 18, 2020
                                    escape. Meaning I was breathing my own warm exhaled air. Don’t recommend this mask.
                                    Verified purchase: Yes | Condition: New | Sold by: bebejiang-4


                                            (6)    (4)




                                    Have none in mind
      by juditmcbria0
                                    Haven't had to use it yet thank God! But it's good quality.
      Mar 18, 2020
                                    Verified purchase: Yes | Condition: New | Sold by: skyhawk22519


                                            (0)    (4)




https://www.ebay.com/itm/New-Sealed-3M-8210-Plus-N95-NIOSH-Particulate-Respirator-Face-Mask-Box-of-20/264819196896?hash=item3da87443e…                                        3/5
                                                                                                                                                                               67
11/16/2020Case      2:20-cv-10536-JVS-JEM         Document
                               New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                    Filed Respirator
                                                                             11/18/20     Page
                                                                                     Face Mask Box68  of51131529243
                                                                                                   of 20 85 Page| eBay
                                                                                                                    ID #:68

                                     Great Product
      by ayjacks_825
                                     Perfect, thank you!
      Apr 06, 2020
                                     Verified purchase: Yes | Condition: New | Sold by: clickawning


                                         (0)        (0)




                                     Taxed but legit
      by rwar4636
                                     They actually came in the box. Not in a plastic bag or anything. Same as the ones I already owned that I had received from my employer
      Aug 12, 2020
                                     Verified purchase: Yes | Condition: New | Sold by:

                                         (0)        (0)




   Explore more sponsored options: Model

   N95                                             More           8210 N 95                                          More       8511 N 95




    Sealed 3M N95 1860s      3M™ VFlex™ 9105                       3M 8210 N95 Particulate        Pack of 3 AUTHENTIC             3M 8511 N95 Protective      3M 8511 N95
    Health Care Respirato…   NIOSH Approved N95…                   Respirator Mask (Box …         3M 8210 N95 NIOSH…              Disposable Face Mask…       Masks With
    $149.95                  $165.00                               $89.89                         $29.95                          $39.99                      $35.99
    + $14.95 shipping        Free shipping                         Free shipping                  Free shipping                   Free shipping               + $5.99 shipp
    ]                        Popular                               Popular                        Popular                         Popular                     Popular
                             ]                                     ]                              ]                               ]                           ]




   People who viewed this item also viewed 1/2                                                                                                                  Feedback on




    3M 1860 N95 NIOSH          3M 8210+ N95 Protective          3M N95 Protective                 3M 8210 N95 Particulate    Honeywell N95 Face Mask       3M™ N95 8210
    Protective Face Mask…      Disposable Face Mask…            Disposable Face Mask…             Respirator Mask (Box of…   Niosh Approved N-95…          Respirator Fac
    $158.89                    $129.99                          $38.99                            $89.89                     $49.50                        $89.95
    Free shipping              Free shipping                    Free shipping                     Free shipping              Free shipping                 Free shipping
    Popular                    ]                                Popular                           Popular                    Popular                       ]
    ]                                                           ]                                 ]                          ]




   More from this seller 1/2                                                                                                                                    Feedback on




https://www.ebay.com/itm/New-Sealed-3M-8210-Plus-N95-NIOSH-Particulate-Respirator-Face-Mask-Box-of-20/264819196896?hash=item3da87443e…                                 4/5
                                                                                                                                                                        68
11/16/2020Case         2:20-cv-10536-JVS-JEM         Document
                                  New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                       Filed Respirator
                                                                                11/18/20Face Page
                                                                                             Mask Box69  of51131529243
                                                                                                      of 20 85 Page| eBay
                                                                                                                       ID #:69




    New Sealed 3M 8210 Mask                New Sealed 3M 8200 N95                 Pack of 3 3M 8210 Plus                 Pack of 3 AUTHENTIC 3M                  Sealed 3M N95 1860s       3 Pack of 3M 8
    N95 NIOSH Particulate…                 NIOSH Particulate…                     N95 NIOSH Particulate…                 8210 N95 NIOSH…                         Health Care Respirator…   NIOSH Particu
    $145.00                                $139.95                                $39.95                                 $29.95                                  $149.95                   $39.99
    + $9.95 shipping                       + $14.95 shipping                      + $5.95 shipping                       Free shipping                           + $14.95 shipping         + $5.95 shippin
    Popular                                ]                                      Popular                                Popular                                 ]                         ]
    ]                                                                             ]                                      ]




 Back to home page | See More Details about "3M 8210 Plus N95 Particulate Respirator Face Mask - 20..."
 More to explore : 3M Full Face Respirator Masks, 3M Industrial Respirator Masks, 3M Industrial Masks & Respirators, Dust Mask 3m 8210, 3M Half Mask Industrial Respirator
 3M N95 Filter Class Industrial Disposable Filter Masks, 3M N95 Filter Class Industrial Mask Replacement Cartridges, Industrial Respirator Masks, Half Mask Respirators,
 Full Face Respirator




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                                                                                                                                                                                                       69
11/10/2020Case          2:20-cv-10536-JVS-JEM       Document
                                       3M N95 1860s Health         1 Filed
                                                           Care Respirator     11/18/20
                                                                           NIOSH              Page
                                                                                 Small Size Surgical   70- Box
                                                                                                     Mask  of 85
                                                                                                               of 20 |Page
                                                                                                                      eBay ID #:70

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                                                                                                    3M N95 1860s Health Care Respirator
                                                                                                                                                                                        Shop with confidence
                                                                                                    NIOSH Small Size Surgical Mask - Box of 20
                                                                                                                                                                                               eBay Money Back Gu
                                                                                                     Condition: New                                                                            Get the item you order
                                                                                                                                                                                               your money back. Lear
                                                                                                       Quantity:       1           More than 10 available
                                                                                                                                   37 sold / See feedback

                                                                                                                                                                                        Seller information

                                                                                                          Price:   US $179.
                                                                                                                         9 95                           Buy It Now
                                                                                                                                                                                                         (21035
                                                                                                                                                                                        99.5%]Positive feedback
                                                                                                                                                                                                                    )

                                                                                                                   No Interest if paid
                                                                                                                   in full in 6 mo on                   Add to cart                         Save this Seller
                                                                                                                   $99+*
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                                                                                                                                                                                        See other items
                                                                                                        100% buyer
                                                                                                                                   37 sold                 6 watchers
                                                                                                        satisfaction

                                                                                                       Shipping: $14.95 Expedited Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                       Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                       ]

                                                                                                      Payments:



                                                                                                                     *No Interest if paid in full in 6 months on $99+. ]|] See
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                               Have one to sell?         Sell now                                       Returns: Seller does not accept returns |] See details




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     3M™ N95 1860 Health                   3M 1860 N95 NIOSH                     3M N95 Small Disposable              3M™ VFlex™ 9105 NIOSH                   3M Aura 9205+ N95                       3M 8200 N95
     Care Particulate…                     Protective Face Mask…                 Face Mask NIOSH…                     Approved N95 Particulat…                NIOSH Protective…                       Disposable Fa
     $160.00                               $158.89                               $122.49                              $165.00                                 $35.89                                  $89.99
     Free shipping                         Free shipping                         Free shipping                        Free shipping                           Free shipping                           Free shipping
     Seller 99.3% positive                 Seller 100% positive                  Almost gone                          Seller 99.8% positive                   Seller 99.8% positive                   Seller 99.8% po
     ]                                     ]                                     ]                                    ]                                       ]                                       ]




     Sponsored items from this seller 1/2                                                                                                                                                                  Feedback on

https://www.ebay.com/itm/3M-N95-1860s-Health-Care-Respirator-NIOSH-Small-Size-Surgical-Mask-Box-of-20/264906934024?hash=item3dadaf0708:…                                                                            1/3
                                                                                                                                                                                                                        70
11/10/2020Case        2:20-cv-10536-JVS-JEM       Document
                                     3M N95 1860s Health         1 Filed
                                                         Care Respirator     11/18/20
                                                                         NIOSH              Page
                                                                               Small Size Surgical   71- Box
                                                                                                   Mask  of 85
                                                                                                             of 20 |Page
                                                                                                                    eBay ID #:71




    Pack of 3 - 3M N95 1860s          3 Pack of 3M 8110S N95       New Sealed 3M 8210 Mask       New Sealed 3M 8200 N95         New Sealed 3M 8210 Plus        Pack of 3 AUTH
    Health Care Respirator…           NIOSH Particulate…           N95 NIOSH Particulate…        NIOSH Particulate…             N95 NIOSH Particulate…         8210 N95 NIOS
    $39.99                            $39.99                       $145.00                       $139.95                        $174.95                        $26.95
    + $5.95 shipping                  + $5.95 shipping             + $9.95 shipping              + $14.95 shipping              + $14.95 shipping              Free shipping
    Popular                           ]                            Popular                       ]                              Popular                        Popular
    ]                                                              ]                                                            ]                              ]




    Description        Shipping and payments



                                                                                                                                                    eBay item number: 2649
     Seller assumes all responsibility for this listing.

     Last updated on ]Nov 07, 2020 10:20:42 PST] View all revisions

         Item specifics
         Condition:       New: A brand-new, unused, unopened, undamaged item in its original      Model:      N95
                          packaging (where packaging is ... Read more
         Brand:           3M                                                                      MPN:        1860S




                                                                                                                                                            Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                               3M N95 1860S Small Respirator Particulate Face Mask.

         Hair Care                            You will receive 1 box of 20 masks with each order.

         Skin Care                            Box has a lot of damage.

                                              New old stock.
         Cosmetics

                                              Please contact us with any questions.
         Tools


         Men Care


         Baby Care


         Other




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 More to explore : 3M Industrial Masks & Respirators, 3M Industrial Respirator Masks, 3M Full Face Respirator Masks, 3M Industrial Respirator Masks Size L,
 3m Versaflo In Industrial Respirator Masks, 3M N95 Filter Class Industrial Mask Replacement Cartridges, 3M N95 Filter Class Industrial Disposable Filter Masks,
 Industrial Masks & Respirators, Industrial Respirator Masks, Other Industrial Masks & Respirators




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                                                                                                                                                                              71
11/10/2020Case         2:20-cv-10536-JVS-JEM       Document
                                      3M N95 1860s Health         1 Filed
                                                          Care Respirator     11/18/20
                                                                          NIOSH              Page
                                                                                Small Size Surgical   72- Box
                                                                                                    Mask  of 85
                                                                                                              of 20 |Page
                                                                                                                     eBay ID #:72


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                                                                                                                                                                            72
11/10/2020Case          2:20-cv-10536-JVS-JEM         Document
                                   New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                        Filed Respirator
                                                                                 11/18/20     Page
                                                                                         Face Mask Box73  of51131529243
                                                                                                       of 20 85 Page| eBay
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                                                      See more 3M 8210 Plus N95 Particulate Respirator Face M...




                                                                                                    New Sealed 3M 8210 Plus N95 NIOSH
                                                                                                                                                                                        Shop with confidence
                                                                                                    Particulate Respirator Face Mask Box of 20
                                                                                                                                                                                               eBay Money Back Gu
                                                                                                        6 viewed per hour                        54 product ratings
                                                                                                                                                                                               Get the item you order
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                                                                                                      Condition: New

                                                                                                        Quantity:      1           More than 10 available
                                                                                                                                   272 sold / See feedback                              Seller information
                                                                                                                                                                                                         (21035     )
                                                                                                                                                                                        99.5%]Positive feedback
                                                                                                          Price:    US $174
                                                                                                                         7 .95                          Buy It Now
                                                                                                                    No Interest if paid                                                     Save this Seller
                                                                                                                    in full in 6 mo on
                                                                                                                                                        Add to cart                     Contact seller
                                                                                                                    $99+*
                                                                                                                                                                                        Visit store
                                                                                                                                                      Add to Watchlist                  See other items


                                                                                                         100% buyer                                      More than 91%
                                                                                                                                   272 sold
                                                                                                         satisfaction                                        sold

                                                                                                       Shipping: $14.95 Standard Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                        Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                        ]

                                                                                                      Payments:



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     3M N95 Small Disposable               3M™ N95 1860 Health                   3M 1860 N95 NIOSH                    3M™ VFlex™ 9105 NIOSH                   3M 8210 N95 NIOSH                       3M N95 Mask
     Face Mask NIOSH…                      Care Particulate…                     Protective Face Mask…                Approved N95 Particulat…                Protective Face Mask…                   Particulate Res
     $122.49                               $160.00                               $158.89                              $165.00                                 $115.99                                 $120.00
     Free shipping                         Free shipping                         Free shipping                        Free shipping                           Free shipping                           Free shipping
     Last one                              Seller 99.3% positive                 Seller 100% positive                 Seller 99.8% positive                   Seller 99.8% positive                   Seller 99.8% po
     ]                                     ]                                     ]                                    ]                                       ]                                       ]




     Description          Shipping and payments


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                                                                                                                                                                                                                        73
11/10/2020Case       2:20-cv-10536-JVS-JEM         Document
                                New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                     Filed Respirator
                                                                              11/18/20     Page
                                                                                      Face Mask Box74  of51131529243
                                                                                                    of 20 85 Page| eBay
                                                                                                                     ID #:74

                                                                                                                                  eBay item number: 264
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     Last updated on ]Nov 08, 2020 13:03:57 PST] View all revisions

        Item specifics
        Condition:       New: A brand-new, unused, unopened, undamaged item in its original   Model:    N95
                         packaging (where packaging is ... Read more
        Brand:           3M                                                                   MPN:      8210PLUS




                                                                                                                                         Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                               3M 8210 Plus NIOSH Particulate Respirator Face Mask.

        Hair Care                             You will receive 1 box of 20 masks with each order.

        Skin Care                             Expire-06-2025.

                                              Please contact us with any questions.
        Cosmetics


        Tools


        Men Care


        Baby Care


        Other




     Ratings and Reviews                                                                                                                             Write a




            3.6
                                                5                        33
                                                4
                                                                         1
                                                3
                                                                                               62%                   66%           76%
                                                                         1
                                                2
                                                                         3
                                                1                                         Would recommend          Good value   Good quality
                                                                         16
          54 product ratings




     Most relevant reviews                                                                                                                        See all 4




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                                                                                                                                                           74
11/10/2020Case         2:20-cv-10536-JVS-JEM         Document
                                  New Sealed 3M 8210 Plus N95 NIOSH1Particulate
                                                                       Filed Respirator
                                                                                11/18/20     Page
                                                                                        Face Mask Box75  of51131529243
                                                                                                      of 20 85 Page| eBay
                                                                                                                       ID #:75
                                                  not recommendation, not exception
       by dalane408
                                                  Not worth the money. time to riff off customer $11 for each. Just panic to buy, no other option. It sweat, hard to breath, has to wear over n
       Mar 24, 2020
                                                  and head.
                                                  Verified purchase: Yes | Condition: New | Sold by: partycus


                                                       (11)         (3)




                                                  You can’t breath with this mask
       by 6carmina6
                                                  I know the mask is to help avoid particles to enter your system. But when I put it on I couldn’t breath, it didn’t allow my transportations t
       Mar 18, 2020
                                                  escape. Meaning I was breathing my own warm exhaled air. Don’t recommend this mask.
                                                  Verified purchase: Yes | Condition: New | Sold by: bebejiang-4


                                                       (6)          (4)




                                                  Have none in mind
       by juditmcbria0
                                                  Haven't had to use it yet thank God! But it's good quality.
       Mar 18, 2020
                                                  Verified purchase: Yes | Condition: New | Sold by: skyhawk22519


                                                       (0)          (4)




                                                  Great Product
       by ayjacks_825
                                                  Perfect, thank you!
       Apr 06, 2020
                                                  Verified purchase: Yes | Condition: New | Sold by: clickawning


                                                       (0)          (0)




                                                  Taxed but legit
       by rwar4636
                                                  They actually came in the box. Not in a plastic bag or anything. Same as the ones I already owned that I had received from my employer
       Aug 12, 2020
                                                  Verified purchase: Yes | Condition: New | Sold by:

                                                       (0)          (0)




 Back to search results | See More Details about "3M 8210 Plus N95 Particulate Respirator Face Mask - 20..."
 More to explore : 3M Full Face Respirator Masks, 3M Industrial Respirator Masks, 3M Industrial Masks & Respirators, Dust Mask 3m 8210, 3M Half Mask Industrial Respirator
 3M N95 Filter Class Industrial Mask Replacement Cartridges, 3M N95 Filter Class Industrial Disposable Filter Masks, Industrial Respirator Masks, Half Mask Respirators,
 Full Face Respirator




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                                                                                                                                                                                            75
11/10/2020Case          2:20-cv-10536-JVS-JEM
                                          Pack of 3Document      1 NIOSH
                                                    3M 8210 Plus N95 FiledParticulate
                                                                           11/18/20        Page
                                                                                      Respirator    76
                                                                                                 Face   of |85
                                                                                                      Mask  eBay Page ID #:76

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 ]
       Back to search results | Listed in category:   Business & Industrial > Healthcare, Lab & Dental > Medical, Lab & Dental Supplies > Disposable Face Masks                                                    |




                                                                                                    Pack of 3 3M 8210 Plus N95 NIOSH
                                                                                                                                                                                   Shop with confidence
                                                                                                    Particulate Respirator Face Mask
                                                                                                                                                                                          eBay Money Back Gu
                                                                                                       423 viewed per day
                                                                                                                                                                                          Get the item you order
                                                                                                                                                                                          your money back. Lear
                                                                                                     Condition: New

                                                                                                       Quantity:       1           More than 10 available
                                                                                                                                   546 sold / See feedback                         Seller information
                                                                                                                                                                                                    (21035     )
                                                                                                                                                                                   99.5%]Positive feedback
                                                                                                          Price:   US $39.
                                                                                                                        9 95                          Buy It Now

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                                                                                                                                                                                   Visit store
                                                                                                                                                    Add to Watchlist               See other items


                                                                                                        100% buyer                                    More than 80%
                                                                                                                                  546 sold
                                                                                                        satisfaction                                       sold

                                                                                                       Shipping: $5.95 Economy Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                       Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                       ]

                                                                                                      Payments:



                                                                                                                     Special financing available. ]|] See terms and apply now

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     3M Aura 9205+ N95                     3M N95 Protective                     Pack of 3 AUTHENTIC 3M               3M 8511 N95 Protective                3M N95 Small Disposable              3M 8511 N95 P
     NIOSH Protective…                     Disposable Face Mask…                 8210 N95 NIOSH…                      Disposable Face Mask…                 Face Mask NIOSH…                     Disposable Fa
     $35.89                                $39.95                                $26.95                               $56.19                                $122.49                              $41.79
     Free shipping                         Free shipping                         Free shipping                        Free shipping                         Free shipping                        Free shipping
     Seller 99.8% positive                 Almost gone                           Seller 99.5% positive                Seller 99.8% positive                 Almost gone                          Almost gone
     ]                                     ]                                     ]                                    ]                                     ]                                    ]




     Sponsored items from this seller 1/2                                                                                                                                                             Feedback on

https://www.ebay.com/itm/Pack-of-3-3M-8210-Plus-N95-NIOSH-Particulate-Respirator-Face-Mask/264848770564?hash=item3daa378604:g:hagAAO…                                                                          1/3
                                                                                                                                                                                                                   76
11/10/2020Case        2:20-cv-10536-JVS-JEM
                                        Pack of 3Document      1 NIOSH
                                                  3M 8210 Plus N95 FiledParticulate
                                                                         11/18/20        Page
                                                                                    Respirator    77
                                                                                               Face   of |85
                                                                                                    Mask  eBay Page ID #:77




    Pack of 3 AUTHENTIC 3M            3 Pack of 3M 8110S N95       New Sealed 3M 8210 Plus     New Sealed 3M 8210 Mask       5 Pack - 3M 9205+ Aura        10 Pack - 3M 9
    8210 N95 NIOSH…                   NIOSH Particulate…           N95 NIOSH Particulate…      N95 NIOSH Particulate…        N95 NIOSH Particulate…        N95 NIOSH Pa
    $26.95                            $39.99                       $174.95                     $145.00                       $35.50                        $68.95
    Free shipping                     + $5.95 shipping             + $14.95 shipping           + $9.95 shipping              Free shipping                 Free shipping
    Popular                           ]                            Popular                     Popular                       Popular                       ]
    ]                                                              ]                           ]                             ]




    Description        Shipping and payments



                                                                                                                                               eBay item number: 2648
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     Last updated on ]Nov 10, 2020 00:54:28 PST] View all revisions

         Item specifics
         Condition:       New: A brand-new, unused, unopened, undamaged item in its original    Model:     N95
                          packaging (where packaging is ... Read more
         Brand:           3M                                                                    MPN:       8210 Plus




                                                                                                                                                       Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                                3M 8210 Plus NIOSH Particulate Respirator Face Mask.

         Hair Care                             You will receive 3 individual masks with each order.

         Skin Care
                                               These are size M/L.


         Cosmetics
                                               Comes from box, but re-packaged in a plastic bag.
                                               Expire-2025.
         Tools

                                               Please contact us with any questions.
         Men Care


         Baby Care


         Other




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 More to explore : 3M Full Face Respirator Masks, 3M Industrial Masks & Respirators, 3M Industrial Respirator Masks, Dust Mask 3m 8210, 3M Half Mask Industrial Respirator

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                                                                                                                                                                         77
11/10/2020Case         2:20-cv-10536-JVS-JEM
                                          Pack of 3Document      1 NIOSH
                                                    3M 8210 Plus N95 FiledParticulate
                                                                           11/18/20        Page
                                                                                      Respirator    78
                                                                                                 Face   of |85
                                                                                                      Mask  eBay Page ID #:78
 3M N95 Filter Class Industrial Mask Replacement Cartridges, 3M N95 Filter Class Industrial Disposable Filter Masks, Industrial Masks & Respirators, Industrial Respirator Mas
 Full Face Respirator




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                                                                                                                                                                            78
11/10/2020Case           2:20-cv-10536-JVS-JEM         Document
                                  Pack of 3 AUTHENTIC 3M             1 Particulate
                                                         8210 N95 NIOSH Filed 11/18/20          Page
                                                                                   Respirator Face Mask 79
                                                                                                        Sizeof
                                                                                                            M/L85   Page ID
                                                                                                                51138464578     #:79
                                                                                                                            | eBay

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 ]
       Back to search results | Listed in category:   Business & Industrial > Healthcare, Lab & Dental > Medical, Lab & Dental Supplies > Disposable Face Masks >
                                                      See more 3M 8210 N95 Particulate Respirator Mask




                                                                                                   Pack of 3 AUTHENTIC 3M 8210 N95 NIOSH
                                                                                                                                                                                     Shop with confidence
                                                                                                   Particulate Respirator Face Mask Size M/L
                                                                                                                                                                                            eBay Money Back Gu
                                                                                                         233 viewed per day                         167 product ratings
                                                                                                                                                                                            Get the item you order
                                                                                                                                                                                            your money back. Lear
                                                                                                     Condition: New

                                                                                                         Quantity:       1           More than 10 available
                                                                                                                                     336 sold / See feedback                         Seller information
                                                                                                                                                                                                      (21035     )
                                                                                                                                                                                     99.5%]Positive feedback
                                                                                                           Price:    US $26.95                          Buy It Now

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                                                                                                                                                                                     Visit store
                                                                                                                                                      Add to Watchlist               See other items


                                                                                                          100% buyer                                    More than 68%
                                                                                                                                    336 sold
                                                                                                          satisfaction                                      sold

                                                                                                         Shipping: FREE Economy Shipping | See details
                                                                                                                 ] Item location: Los Angeles, California, United States
                                                                                                                 ] Ships to: United States See exclusions

                                                                                                         Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                         ]

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     3M Aura 9205+ N95                     3M N95 Protective                     3M N95 Small Disposable                3M 8511 N95 Protective                3M 8511 N95 Protective               3M 1860 N95 N
     NIOSH Protective…                     Disposable Face Mask…                 Face Mask NIOSH…                       Disposable Face Mask…                 Disposable Face Mask…                Protective Fac
     $35.89                                $39.95                                $122.49                                $56.19                                $41.79                               $158.89
     Free shipping                         Free shipping                         Free shipping                          Free shipping                         Free shipping                        Free shipping
     Seller 99.8% positive                 Almost gone                           Last one                               Seller 99.8% positive                 Almost gone                          Seller 100% pos
     ]                                     ]                                     ]                                      ]                                     ]                                    ]




                     i                     i
https://www.ebay.com/itm/Pack-of-3-AUTHENTIC-3M-8210-N95-NIOSH-Particulate-Respirator-Face-Mask-Size-M-L/264854599481?hash=item3daa9…                                                                            1/4
                                                                                                                                                                                                                     79
11/10/2020Case       2:20-cv-10536-JVS-JEM         Document
                              Pack of 3 AUTHENTIC 3M             1 Particulate
                                                     8210 N95 NIOSH Filed 11/18/20          Page
                                                                               Respirator Face Mask 80
                                                                                                    Sizeof
                                                                                                        M/L85   Page ID
                                                                                                            51138464578     #:80
                                                                                                                        | eBay
   Sponsored items from this seller 1/2                                                                                                                       Feedback on




    Pack of 3 3M 8210 Plus            3 Pack of 3M 8110S N95          New Sealed 3M 8210 Mask   New Sealed 3M 8210 Plus   Pack of 3 - 3M N95 1860s      New Sealed 3M
    N95 NIOSH Particulate…            NIOSH Particulate…              N95 NIOSH Particulate…    N95 NIOSH Particulate…    Health Care Respirator…       NIOSH Particu
    $39.95                            $39.99                          $145.00                   $174.95                   $39.99                        $139.95
    + $5.95 shipping                  + $5.95 shipping                + $9.95 shipping          + $14.95 shipping         + $5.95 shipping              + $14.95 shippin
    Popular                           ]                               Popular                   Popular                   Popular                       ]
    ]                                                                 ]                         ]                         ]




   Description         Shipping and payments



                                                                                                                                             eBay item number: 2648
     Seller assumes all responsibility for this listing.

     Last updated on ]Nov 09, 2020 14:51:58 PST] View all revisions

        Item specifics
        Condition:       New: A brand-new, unused, unopened, undamaged item in its original      Model:     N95
                         packaging (where packaging is ... Read more
        Brand:           3M                                                                      MPN:       8210




                                                                                                                                                     Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                               3M 8210 N95 NIOSH Particulate Respirator Face Mask.

        Hair Care                             You will receive 3 individual masks with each order.

        Skin Care
                                              Size M/L.


        Cosmetics
                                              Comes from box, but re-packaged in a plastic bag.
                                              Expire-2025.
        Tools

                                              Please contact us with any questions. Thank you.
        Men Care


        Baby Care


        Other




     Ratings and Reviews                                                                                                                                         Write a




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                                                                                                                                                                       80
11/10/2020Case         2:20-cv-10536-JVS-JEM         Document
                                Pack of 3 AUTHENTIC 3M             1 Particulate
                                                       8210 N95 NIOSH Filed 11/18/20          Page
                                                                                 Respirator Face Mask 81
                                                                                                      Sizeof
                                                                                                          M/L85   Page ID
                                                                                                              51138464578     #:81
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            4.0
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                                                                                                                           69%                               55%                 76%
                                                                                             3
                                                       2
                                                                                             2
                                                       1                                                             Would recommend                    Good value            Good quality
                                                                                             36
           167 product ratings




      Most relevant reviews                                                                                                                                                                  See all 12


                                                  Looks and wears like pre-pandemic N95
       by wencar256
                                                  Fits well. Holds shape. seal to face means it slightly collapses with in-drawn breath - it is apparently filtering incoming air. Seal can be
       Oct 21, 2020
                                                  adjusted with moldable piece at bridge of nose. Sometimes on exhalatin not all air goes through filter and may fog glasses - usually res
                                                  with seal adjustment..
                                                  All the printing on box and mask are similar to markings on bonafide N95 masks I purchased before pandemic. UNKNOWN if these are
                                                  3M masks with blown polyethylene fiber fill and UNKNOWN if the electrical charge of those fibers has been applied. Much safer feeling
                                                  (FWIW) with this mask VS alternatives I've tried so far.
                                                  Verified purchase: Yes | Condition: New | Sold by: eshop_0


                                                           (2)        (0)




                                                  Excellent comfortable mask for general cleaning taskes
       by xhsiao
                                                  Fit and seal around the face very well. Comfortable to wear for long period of time. Can breath under it easily. Great for around the hous
       Aug 02, 2017
                                                  general demolition work. But if you need to use a mask a lot, it is better to get a respirator mask with replaceable filters.
                                                  Verified purchase: Yes | Condition: Pre-Owned | Sold by: jwhite-antiques


                                                           (1)       (0)




                                                  Highly recommend
       by trendzn
                                                  So far I have tested 3 different brands, but the 3M 8210 plus is the most dependable for its comfort, durability, and being a N95 mask
       Apr 07, 2020
                                                  approved by the FDA. The design has been the standard of mask throughout the world, definitely an American classic.
                                                  Verified purchase: Yes | Condition: New | Sold by: savers-center2012


                                                           (1)       (0)




                                                  A little snug for M/L size
       by dm5728
                                                  They're are fine but not super comfortable because the straps are very tight. I get a red mark on the bridge of my nose tight. Better than
       Oct 20, 2020
                                                  contracting the Virus though!
                                                  Verified purchase: Yes | Condition: New | Sold by:

                                                       (0)            (0)




                                                  Great product
       by georggree-8
                                                  I have been using the mask for years they are a great help for me i just being paying to much for them 31 dollars for 20 masks
       Sep 06, 2019
                                                  Verified purchase: Yes | Condition: Pre-Owned | Sold by: 4boathouse


                                                           (0)        (1)




 Back to search results | See More Details about "3M 8210 N95 Particulate Respirator Mask"
 More to explore : 3M Full Face Respirator Masks, 3M M Industrial Respirator Masks, 3M Industrial Masks & Respirators, Full Face Respirator Masks Size M,
 3M Half Mask M Industrial Respirator Masks, 3M N95 Filter Class Industrial Mask Replacement Cartridges, 3M N95 Filter Class Industrial Disposable Filter Masks,
 Industrial Masks & Respirators, Industrial Respirator Masks, Other Industrial Masks & Respirators




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                                                                                                                                                                                                     81
11/10/2020Case   2:20-cv-10536-JVS-JEM         Document
                          Pack of 3 AUTHENTIC 3M             1 Particulate
                                                 8210 N95 NIOSH Filed 11/18/20          Page
                                                                           Respirator Face Mask 82
                                                                                                Sizeof
                                                                                                    M/L85   Page ID
                                                                                                        51138464578     #:82
                                                                                                                    | eBay




https://www.ebay.com/itm/Pack-of-3-AUTHENTIC-3M-8210-N95-NIOSH-Particulate-Respirator-Face-Mask-Size-M-L/264854599481?hash=item3daa9…   4/4
                                                                                                                                        82
11/10/2020Case          2:20-cv-10536-JVS-JEM         Document
                                       Pack of 3 - 3M N95            1 Care
                                                          1860s Health   Filed  11/18/20
                                                                            Respirator         Page
                                                                                       NIOSH Small      83 of 85
                                                                                                   Size Surgical Mask |Page
                                                                                                                       eBay ID #:83

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 ]
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                                                                                                    Pack of 3 - 3M N95 1860s Health Care
                                                                                                                                                                                   Shop with confidence
                                                                                                    Respirator NIOSH Small Size Surgical Mask
                                                                                                                                                                                          eBay Money Back Gu
                                                                                                       233 viewed per day
                                                                                                                                                                                          Get the item you order
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                                                                                                     Condition: New

                                                                                                       Quantity:       1           More than 10 available
                                                                                                                                   481 sold / See feedback                         Seller information
                                                                                                                                                                                                    (21035     )
                                                                                                                                                                                   99.5%]Positive feedback
                                                                                                          Price:   US $39.
                                                                                                                        9 99                          Buy It Now

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                                                                                                        100% buyer                                    More than 87%
                                                                                                                                  481 sold
                                                                                                        satisfaction                                      sold

                                                                                                       Shipping: $5.95 Standard Shipping | See details
                                                                                                               ] Item location: Los Angeles, California, United States
                                                                                                               ] Ships to: United States See exclusions

                                                                                                       Delivery: Estimated on or before Tue. Nov. 17 to 95134
                                                                                                                       ]

                                                                                                      Payments:



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     Face Mask NIOSH…                      NIOSH Protective…                     Disposable Face Mask…                Care Particulate…                     Protective Face Mask…                Disposable Fa
     $122.49                               $35.89                                $39.95                               $160.00                               $158.89                              $56.19
     Free shipping                         Free shipping                         Free shipping                        Free shipping                         Free shipping                        Free shipping
     Last one                              Seller 99.8% positive                 Almost gone                          Seller 99.3% positive                 Seller 100% positive                 Seller 99.8% po
     ]                                     ]                                     ]                                    ]                                     ]                                    ]




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                                                                                                                                                                                                                   83
11/10/2020Case        2:20-cv-10536-JVS-JEM         Document
                                     Pack of 3 - 3M N95            1 Care
                                                        1860s Health   Filed  11/18/20
                                                                          Respirator         Page
                                                                                     NIOSH Small      84 of 85
                                                                                                 Size Surgical Mask |Page
                                                                                                                     eBay ID #:84




    3M N95 1860s Health Care          3 Pack of 3M 8110S N95          Pack of 3 AUTHENTIC 3M     Pack of 3 3M 8210 Plus         5 Pack - 3M 9205+ Aura         10 Pack - 3M 9
    Respirator NIOSH Small…           NIOSH Particulate…              8210 N95 NIOSH…            N95 NIOSH Particulate…         N95 NIOSH Particulate…         N95 NIOSH Pa
    $179.95                           $39.99                          $26.95                     $39.95                         $35.50                         $68.95
    + $14.95 shipping                 + $5.95 shipping                Free shipping              + $5.95 shipping               Free shipping                  Free shipping
    ]                                 ]                               Popular                    Popular                        Popular                        ]
                                                                      ]                          ]                              ]




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                                                                                                                                                    eBay item number: 264
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         Item specifics
         Condition:       New: A brand-new, unused, unopened, undamaged item in its original      Model:      N95
                          packaging (where packaging is ... Read more
         Brand:           3M                                                                      MPN:        1860s




                                                                                                                                                           Visit Store: ] payles
                                                      (21035   ) 99.5%




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     Categories                               3M N95 1860s Health Care Respirator Particulate NIOSH Surgical Mask.

         Hair Care                            You will receive 3 individual masks with each order.

         Skin Care
                                              These are size small.


         Cosmetics
                                              Comes from box, but re-packaged in a plastic bag.

         Tools
                                              Please contact us with any questions.

         Men Care


         Baby Care


         Other




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 More to explore : 3M Industrial Respirator Masks, 3M Industrial Masks & Respirators, 3M Half Mask Industrial Respirator Masks, 3M Full Face Respirator Masks,
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 North Industrial Respirator Masks




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                                                                                                                                                                              84
11/10/2020Case         2:20-cv-10536-JVS-JEM         Document
                                      Pack of 3 - 3M N95            1 Care
                                                         1860s Health   Filed  11/18/20
                                                                           Respirator         Page
                                                                                      NIOSH Small      85 of 85
                                                                                                  Size Surgical Mask |Page
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                                                                                                                                                                            85
